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           [ORAL ARGUMENT NOT YET SCHEDULED]

                              No. 25-5157


         IN THE UNITED STATES COURT OF APPEALS
          FOR THE DISTRICT OF COLUMBIA CIRCUIT


           NATIONAL TREASURY EMPLOYEES UNION,

                                         Plaintiff-Appellee,

                                  V.


                      DONALD J. TRUMP, et al.,

                                         Defendants-Appellants.


           On appeal from the United States District Court
                    for the District of Columbia


      APPELLEE'S PETITION FOR REHEARING EN BANC


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                        RULE 40 STATEMENT

     The Court should grant rehearing en bane because this case

presents a question of exceptional importance: whether the Congress

that codified federal-sector collective bargaining intended to allow the

President to dismantle its statutory system through a narrow national-

security exemption-and to allow it where the President states that he

is using the exemption to punish unions who do not support him and to

make federal employees easier to fire. If the government's position

prevails, there is no national-security exemption that the President

could make-no matter how outlandish or pretextual-that would be

subject to judicial review or exceed his statutory authority.

     1.    Congress passed the Federal Service Labor-Management

Relations Statute of 1978 (the Statute) to codify federal labor relations

and to safeguard it from the whims of any President; to promote

collective bargaining; and to strengthen federal labor unions. See

5 U.S.C. § 7101(a); Bureau of Alcohol, Tobacco & Firearms v. FLRA,

464 U.S. 89, 107 (1983).

     This Court's 2-1 decision to stay the district court's emergency

relief pending appeal might very well end federal-sector collective


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bargaining. In practical terms, the ruling-which was based strictly on

an equities analysis (A2 n.1)---effects what the district court aimed to

prevent: it will kill federal-sector unions.

      Executive Order No. 14,251, Exclusions from Federal Labor-

Management Relations Programs (the Executive Order), strips

collective-bargaining rights from federal workers in over thirty agencies

or subdivisions, such as the Environmental Protection Agency and the

Internal Revenue Service (IRS). A 7. In all, it takes about two-thirds of

federal workers out of the Statute's coverage. Id. For NTEU, that means

"65.9% of all NTEU-represented employees, or approximately 104,278

employees." A46.

     The panel's stay will allow agencies to continue to ignore federal-

sector unions like NTEU-to refuse to bargain with them or to engage

with them-all while federal workers are under unprecedented attack.

That includes the impending large-scale reductions-in-force. This

Court's stay means that the one-dozen NTEU-represented agencies that

that Executive Order targets will continue not to discuss those

reductions-in-force with NTEU or honor the reduction-in-force

procedures in their collective-bargaining agreements. A35, A4 7-48.


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NTEU will not get these chances to advocate for and to protect its

workers back: "there is a substantial possibility that only a small

fraction of its once large union w[ill] remain upon prevailing in this

litigation." A48. The same will be true for other federal-sector unions.

     This Court's stay will also allow federal agencies exempted

through the Executive Order to refuse to process dues payments to

federal-sector unions via the payroll deduction process that Congress

created in 5 U.S.C. § 7115(a). Those dues payments restarted less than

two weeks ago because of the district court's preliminary injunction and

after NTEU had lost over $3 million in dues revenue. Doc. #2114615 at

126-27, , 4. 1 The stay will restart those losses, which for NTEU will

take away over half of its revenue. A50-51.

     As the district court understood, those losses threaten NTEU's

very existence. A50. Indeed, the largest federal-sector union, the

American Federation of Government Employees, has announced it is

laying off half its staff nationwide because of the effect of this

Administration's actions on its finances. Doc. #2114615 at 127,, 6.




1 Citations to court documents use the page numbers generated in the
ECFheader.
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With the two largest federal-sector unions (among others) on the

precipice, so too is Congress's statutory regime.

     And the final blow for federal-sector unions might be just around

the corner. The Executive Order, Section 7, directs agency heads to

recommend additional national-security exemptions from the Statute.

If the government gets the unchecked executive power that it is asking

for here, additional exemptions are sure to come.

     2.    The majority's ruling is based on a plain factual

misunderstanding: that agencies were not implementing the Executive

Order before the district court enjoined its implementation. That is

untrue. The district court's factual findings and the record, relevant

portions of which NTEU submitted to this Court with its opposition, are

directly to the contrary. See Doc. #2114615 at 33-130.

     But the majority ignored that record and the district court's

factual findings. It then gave the government a pass on its own burden,

allowing it to "glide □ over its obligation to show irreparable injury." A9

(Childs, J., dissenting). The majority found it sufficient for the

government, "[i]n one brief paragraph," to simply invoke the words

"national security." Id. The majority did not stop there. It went on to


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raise arguments that the government did not even suggest to the Court:

that the preliminary injunction is too broad and that it "doubt[s] that $0

was the 'appropriate bond' in this case." A3, A5 n.4.

       "[T]he central purpose of [a stay pending appeal] is to prevent

irreparable injury, not to short-circuit the normal course of litigation."

J.G.G. v. Trump, No. 25-5067, 2025 U.S. App. LEXIS 7131, at *36 (D.C.

Cir. Mar. 26, 2025) (Henderson, J., concurring). Yet the majority rushed

past the district court's factual findings to upend the status quo in a

way that will harm federal-sector unions irreparably. Putting the

Executive Order, Section 2, back into effect will accomplish the Order's

aims of dismantling Congress's collective-bargaining regime and

punishing union dissent. This merits the full Court's intervention.

                             BACKGROUND

  I.     Congress's Broad Grant of Collective-Bargaining Rights
         to Federal Workers

       "In passing the Civil Service Reform Act, Congress

unquestionably intended to strengthen the position of federal unions

and to make the collective-bargaining process a more effective

instrument of the public interest than it had been under the Executive

Order regime." Bureau of Alcohol, Tobacco & Firearms, 464 U.S. at 107.

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      As Title VII of the Act, Congress enacted the Statute, 5 U.S.C.

§ 7101 et seq. Congress intended the Statute to replace the existing

Executive-Order regime governing collective bargaining with a

"statutory Federal labor-management program which cannot be

universally altered by any President." 124 Cong. Rec. H9637 (daily ed.

Sept. 13, 1978) (statement of Rep. Clay). 2

      The Statute rests on Congress's finding that "the statutory

protection of the right of employees to organize, bargain collectively,

and participate through labor organizations of their own choosing in

decisions which affect them ... safeguards the public interest." 5 U.S.C.

§ 7101(a). The Statute assigns federal-sector unions the job of "act[ing]

for'' and "negotiat[ing] collective-bargaining agreements covering'' all

employees in the bargaining units that they are elected to represent. Id.

§ 7114(a).

      Congress excluded some agencies from the Statute, like the

Federal Bureau of Investigation. Id. § 7103(a)(3). The Statute gives the

President narrow grounds to exclude additional agencies if he


2 This Court has relied on statements from "major players in the
legislation, such as Representative Clay." OPM v. FLRA, 864 F.2d 165,
169 (D.C. Cir. 1988).
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determines that an agency or subdivision has a "primary function [of]

intelligence, counterintelligence, investigative, or national security

work," and the Statute cannot be applied "in a manner consistent with

national security requirements and considerations." Id. § 7103(b)(l).

   II.     The President's Sweeping Executive Order Cancelling
           Statutory Collective-Bargaining Rights

         Before the Executive Order at issue, no President had used

Section 7103(b)(l)'s narrow national-security exemption to exclude an

entire Cabinet-level agency from the Statute-let alone multiple

Cabinet-level agencies. A 7. This Executive Order, though, strips

collective-bargaining rights from about two-thirds of federal workers,

including 65.9% of the workers that NTEU represents. A14, A46.

         The Office of Personnel Management (OPM) issued guidance

explaining that excluded agencies "are no longer subject to the

collective-bargaining requirements of [chapter 71]" and that the unions

representing bargaining-unit employees at those agencies have "los[t]

their status" as the exclusive representative for those employees. A19.

         NTEU represents nearly a dozen federal agencies that the

Executive Order excludes from the Statute's coverage. See

Doc. #2114615 at 37, ,-r 6. NTEU has represented several of the

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bargaining units that the Executive Order excludes from the Statute's

coverage for decades and some since the Statute's inception in 1978. See

Doc. #2114615 at 48--50, , , 46-57.

   III. The Administration's Admitted Motivations Behind the
        Executive Order

      The Administration issued a Fact Sheet and OPM Guidance on

the same night as the Executive Order. Each discusses the Executive

Order's impetus: facilitating mass firings of federal employees and

exacting political vengeance.

      A.   The OPM Guidance acknowledges the larger context: the

President's direction to agencies "to prepare large-scale reductions in

force." A35. Now, with the Executive Order's issuance, OPM advises

that "agencies can proceed to '[d]isregard contractual [reduction-in-

force] articles' and 'prepare large-scale reductions in force' as the

'President has directed."' Id. According to OPM, "Agency [collective-

bargaining agreements] often create procedural impediments' to

removing [underperforming] employees." Id.

      B.   The White House Fact Sheet reveals an additional

motivation for the Executive Order: political retribution against "hostile



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Federal unions." A18. The Fact Sheet states that "[c] ertain Federal

unions have declared war on President Trump's agenda." A19.

NTEU is one of the "Federal unions" that has fought back against

President Trump's agenda. NTEU has initiated litigation against

several Administration initiatives that it believes are unlawful. A33 .

      The Executive Order targets a dozen different collective-

bargaining relationships that NTEU has with federal agencies and

departments. Al 7-18. That includes NTEU's largest bargaining unit:

the IRS. Doc. #2114615 at 39, 43, and 48, ,r,r 19, 37, and 46.

   IV.   Procedural History

      On March 31, NTEU filed a lawsuit alleging that the Executive

Order's exemptions of its bargaining units from the Statute,

individually and collectively, were ultra vires because they exceeded the

President's authority under the Statute; and that the exemptions

reflected First Amendment retaliation for NTEU' s litigation against the

Administration. A20. NTEU then moved for a preliminary injunction

against the Executive Order, Section 2, and OPM's implementing

guidance against the defendants. Id.




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      In a decision issued on April 28, the district court held that the

White House's own words and actions defeated the presumption of

regularity and allowed for judicial review of NTEU' s ultra vires claims.

A29-36. The district court found "clear evidence" that the President's

sweeping use of that narrow exemption was "retaliatory" and aimed to

"punish unions for the 'war' they have 'declared [] on President Trump's

agenda"; served to facilitate "unrelated policy objectives" like "mak[ing]

federal employees easier to fire"; and "bear no relation to the [statutory]

criteria" for the national-security exemption. A33-36, A38. The

evidence likewise showed that the President's exemptions were based

on "disagreement with Congress's decision to extend collective

bargaining rights to the federal workforce broadly, rather than a

determination that such rights cannot be applied in a 'manner

consistent with national security requirements and considerations."'

A32 (quoting 5 U.S.C. § 7103(b)(l)(B)).

      The district court concluded that NTEU would likely succeed in

proving its ultra vires claims (A36-45 (abstaining from evaluating First

Amendment claim)); that it had shown irreparable harm given the

damage to its bargaining power and the financial losses that threatened


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its very existence (A45-52); and that the equities favored preliminary

relief (A52-53). The district court thus preliminarily enjoined Section 2

of the Executive Order as it applies to eleven NTEU-represented

agencies that the Order exempts from the Statute entirely and another

NTEU-represented agency that the Order exempts in part. Al 7-18.

      On April 30, the government appealed the district court's ruling.

It then asked this Court for an immediate administrative stay of the

ruling and a motion for stay pending appeal. Doc. #2113741. This Court

did not grant an administrative stay, but on May 16 granted a stay

pending appeal in a divided decision that was based solely on the

equitable factors. A2 n.1.

                              ARGUMENT

   The Majority's Ruling Is Wrong and Will Cause Irreparable
   Harm to Federal-Sector Collective Bargaining.

      A.   The Majority's Entire Analysis Is Based on a Factual
           Misunderstanding.

      At the heart of the majority's equities analysis is an incorrect fact:

that agencies were complying with their collective-bargaining

agreements before the district court's injunction. A2-4 (stating that "the

Government directed agencies to refrain from terminating collective-

bargaining agreements ... until after the litigation concludes"). This
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belief is based exclusively on a Frequently Asked Questions document

that OPM issued on April 8---after NTEU filed suit and moved for

preliminary relief-which contains the following suggestion: that

'"[a]gencies should not terminate any collective bargaining agreements

... until the conclusion of litigation or further guidance from OPM

directing such termination."' Al0, A48 (quoting FAQ document).

      Based on the mistaken premise that agencies complied with this

suggestion, the majority concluded that neither NTEU nor anyone else

is harmed from a stay of the preliminary injunction. A2, A4. Indeed, in

the majority's view, the preliminary injunction was not needed at all,

given agencies' alleged compliance with their collective-bargaining

agreements. A2. Thus, the majority concludes, the government will

likely prevail on appeal. Al-2.

      The panel majority's foundational understanding of the state of

affairs before the preliminary injunction issued is incorrect. The

government briefly argued to the district court that an April 8 issuance

from OPM-the document on which the majority relies-showed that

collective-bargaining agreements remained in force. Dist. Ct. Doc.# 26

at 15. But the government did not raise that argument again after


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NTEU dispatched it in its reply. Dist. Ct. Doc. # 29 at 25-26 ("Despite

the magic words of the FAQs, agencies have, in fact, utterly rejected

their collective bargaining obligations with NTEU. Before and after

April 8, agencies have refused to meet with NTEU, to bargain with

NTEU, or to honor contractual obligations"), id. # 29-1 (attaching

exhibits showing defendants' non-compliance with agreements).

      Indeed, at oral argument on NTEU' s motion for a preliminary

injunction, the government refused to defend the argument made in its

opposition after NTEU raised it. As NTEU stated:

      [T]his didn't come up in the government's initial presentation,
      but . . . there shouldn't be any factual question here that
      agencies are disregarding our CBAs. In the government's brief
      it argued that agencies are not terminating CBAs, and it
      offered an FAQ document from the Office of Personnel
      Management advising agencies that they . . . "shouldn't
      terminate CBAs."
      Your Honor read from the March 27th OPM guidance that's
      still in force ... [It] details actions that agencies should take
      ... "after terminating CBAs." And those actions include
      disregarding reduction in force articles [in] CBAs. We know,
      and it's established in the record, that's already happening
      here with NTEU' s agencies.
      It also says, "After termination, stop processing dues
      payment[s] via payroll deduction." We already know, and it's
      in the record, that's already happening. So if it happens to be
      the case that some of the agency defendants here haven't used
      the magic word "termination," those contracts have been

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      terminated and agencies are acting consistent with the
      March 27th guidance and they are not honoring our CBAs.

Dist. Ct. Doc. # 33 at 46-4 7. The government chose not to respond and

defend its earlier position. Id. at 48-53, 55.

      Consistent with the undisputed record evidence, the district court

found that:

      [C]ertain agencies have already failed to honor provisions of
      the respective collective bargaining agreements by failing to
      withhold dues payment from employees' paychecks,
      "disavow[ing] any obligation to bargain," and beginning to
      implement reductions in force.[]

      In other words, notwithstanding the lack of the formal
      cancellation of the collective bargaining agreements, the
      agencies and subdivisions have been instructed that the
      protections in the [Statute] are no longer operative . . . [and]
      have already begun disregarding provisions of the collective
      bargaining agreements in line with the OPM Guidance.

A47, 49 (internal citations omitted). Those factual findings must be

accepted unless clearly erroneous. In re Navy Chaplaincy, 697 F.3d

1171, 1178 (D.C. Cir. 2012). And, here, these findings are undisputed.

      The majority nonetheless accepted the government's conclusory

attempt to resurrect its debunked argument. Doc. #2113741 at 32. And

it completely ignored both the district court's findings to the contrary

and the supporting evidence that NTEU appended to its submission to


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the panel. Doc. #2114615 at 33-130. That error renders its entire

analysis plainly wrong.

      B.   NTEU Demonstrated Irreparable Harm and Is Thus
           Likely to Prevail on Appeal

      The majority's sole basis for its determination that NTEU is

unlikely to succeed on the merits is its conclusion that NTEU failed to

show irreparable harm. A2-3. That conclusion, as explained above, is

based entirely on the mistaken premise that agencies were honoring

their collective-bargaining agreements before the district court's order.

An accurate factual understanding leaves no doubt that NTEU showed

irreparable harm.

      1.   The Executive Order drastically diminishes NTEU's

bargaining power, which is an additional irreparable injury. The

Executive Order took away about two-thirds of the workers that NTEU

represents, and it led to agencies disregarding a dozen of its collective-

bargaining agreements. A46, A49. Agencies covered by the Executive

Order stopped bargaining with NTEU on changes to conditions of

employment-including the impending reductions-in-force-and

stopped participating in the grievance-arbitration process.

Doc. #2114615 at 56-58, ,-r,-r 15-24. NTEU members in these agencies

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cancelled their membership explicitly because of the Order. Id. at 128

("President Trump demolished the union several weeks ago ... Please

see the attached form, SF-1188 to end my participation in NTEU.").

      Courts have held that government action that "fundamentally

diminishe [s]" union bargaining power is an Article III injury (NTEU v.

Chertoff, 452 F.3d 839, 853 (D.C. Cir. 2006)) and that an employer's

refusal to bargain with a union is likely to cause irreparable harm

(Small v. Avanti Health Sys., LLC, 661 F.3d 1180, 1191 (9th Cir. 2011)).

Absent the district court's emergency relief, there is a "very real

danger" that NTEU's membership will continue to "erode" and that any

final remedy "would be ineffective." See Asseo v. Centro Medico Del

Turabo, Inc., 900 F.2d 445, 454 (1st Cir. 1990).

      2.   NTEU lost over $2 million before the district court's

preliminary injunction because the agency defendants stopped

processing dues payments to NTEU through payroll deductions, as

5 U.S.C. § 7115 and their collective-bargaining agreements require.

A50-51. And by the time defendants complied with the preliminary

injunction, losses exceeded $3 million. Doc. #2114615 at 126-27, ,r 4.




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Staying the preliminary injunction will cause NTEU to lose over half of

its annual revenue. See A50-51.

      Financial losses of this magnitude threaten NTEU's very

existence (A50) and thus constitute irreparable harm. See Wis. Gas Co.

v. FERC, 758 F.2d 669, 674 (D.C. Cir. 1985); Wilmer Cutler Pickering

Hale & Dorr LLP v. Exec. Off. of the President, No. 25-cv-917, 2025 U.S.

Dist. LEXIS 61536, at *4-5 (D.D.C. Mar. 28, 2025) (finding irreparable

harm where an Executive Order threatened almost one-third of the

plaintiffs revenue, which would be a "devastating blow to plaintiff-

threatening plaintiffs very existence").

      The majority suggested NTEU can make up for dues that are lost

through agencies stopping payroll deductions by asking members to

make voluntary contributions. A3. But the Executive Order takes away

the apparatus that Congress created in 5 U.S.C. § 7115 and on which

NTEU relies for virtually all its dues payments. A50-51. And the

Executive Order also takes away the basic reason that NTEU members

pay dues at all: to support their exclusive representative, which is

entitled to collectively bargain on their behalf and with which their

employers must engage. A51; cf. Perkins Coie LLP v. U.S. Dep't of


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Justice, No. 25-716, 2025 U.S. Dist. LEXIS 844 75, at *38 n.20 (D.D.C.

May 2, 2025) (noting that executive order took away the reason clients

hired firm: i.e., it "hamper[ed] the effectiveness of [firm's]

representation of clients").

      C.    Maintaining Collective Bargaining Would Not
            Irreparably Harm the Government.

      1.    Preserving Congress's collective-bargaining regime while the

government's appeal is pending will not cause it irreparable harm.

The basis for the government's claim of harm is "a generalized

statement that interference with 'the government's investigation,

intelligence, and national security functions---or ... the government's

ability to supervise the employees engaged in such work-would

appreciably injure the Nation's interests."' A9 (Childs, J., dissenting).

      But, as Judge Childs explains, "the district court's injunction

maintains the state of affairs that has existed for nearly half a century:

NTEU has bargained on behalf of federal workers since the 1970s. The

Government does not explain why irreparable injury will result from

continuing this decades-long practice for a short period of time while we

adjudicate the merits of this appeal." Id. (internal citations omitted)

That should end the analysis.

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      And while "the Government claims that a stay would protect the

President's ability 'to guarantee the effective operation of agencies

relevant to national security without the constraints of collective

bargaining"' (id.), that is merely a policy objection to collective

bargaining, which the Executive Branch may take up with Congress. It

is not a showing of irreparable harm.

      This Court, moreover, has underscored that "the scope of

bargaining under [the Statute] is extraordinarily narrow." Chertoff,

452 F.3d at 860. "[T]he restricted scope of bargaining under [the

Statute] gives federal agencies great 'flexibility' in collective

bargaining." Id. at 861. And the Statute grants agencies wide latitude

to act promptly in exigent situations and often allows bargaining to

occur after an agency implements a change to working conditions. 3

      2.    Critically important here is that the district court found

"clear evidence" that the Executive Order's national-security

exemptions were not motivated by national-security concerns. See A29-


3 See 5 U.S.C. § 7106 (granting agencies the right "to take whatever

actions may be necessary to carry out the agency mission during
emergencies"); DHS, ICE, 70 F.L.R.A. 628, 630 (2018) (agency may
bargain after implementing changes to condition of employment if made
pursuant to a law or government-wide regulation).
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36. Instead, the evidence-the Administration's own words-showed

that the exemptions were motivated by a desire "to punish unions for

the 'war' they have 'declared Don President Trump's agenda;" and "to

remove the barriers created by the [Statute] to his unrelated policy

objectives," i.e., "mak[ing] federal employees easier to fire." A34-36.

      These factual findings, which must be accepted unless clearly

erroneous, likewise defeat the government's claim of irreparable harm

absent a stay.

                               *     *     *

      "When confronting a statutory question touching on ... national

security ... a court does not adequately discharge its duty by pointing

to the broad authority of the President and Congress and vacating the

field without considered analysis." Ctr. for Biological Diversity v.

Mattis, 868 F.3d 803, 827 (9th Cir. 2017). The government should not

get emergency relief by simply using the words "national security." Cf.

A4.

      D.   A Stay Pending Appeal Would Harm Other Parties
           and the Public.

      The majority based its conclusion that a stay pending appeal will

not hurt other parties on the same mistaken fact that permeates the

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rest of its analysis: the majority's belief that the government is honoring

collective-bargaining agreements. See A4 (relying on "the Government's

self-imposed restrictions."). But those agreements are being

disregarded. So, the majority's stay of the district court's emergency

relief will hurt the "over one-hundred thousand NTEU-represented

federal workers" who will lose their collective-bargaining rights. See id.

      And while the government and the public's interests generally

merge, they should not here. Congress concluded that "labor

organizations and collective bargaining in the civil service are in the

public interest." 5 U.S.C. § 7101(a). If Congress's words have meaning, a

stay that allows the President to eviscerate federal-sector collective

bargaining through "retaliatory" national-security exemptions is not in

the public interest. A34.




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                            CONCLUSION

      The Court should grant this petition.

                                 Respectfully submitted,

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May 23, 2025                      Counsel for Appellee NTEU




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                 CERTIFICATE OF COMPLIANCE

      I hereby certify this response complies with the requirements of

Federal Rule of Appellate Procedure 27(d)(l)(E) because it has been

prepared in 14-point Century Schoolbook, a proportionally spaced font,

and that it complies with the typeface and type-volume limitation of

Federal Rule of Appellate Procedure 40(d)(3) because it contains 3,895

words, excluding those words that Federal Rule of Appellate Procedure

32(£) exempts.


                                 Isl Jessica Horne
                                 JESSICA HORNE
                                 Assistant Counsel




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           [ORAL ARGUMENT NOT YET SCHEDULED]

                             No. 25-5157
          _________________________________________________

         IN THE UNITED STATES COURT OF APPEALS
          FOR THE DISTRICT OF COLUMBIA CIRCUIT
         __________________________________________________

            NATIONAL TREASURY EMPLOYEES UNION,

                                         Plaintiff-Appellee,

                                   v.

                      DONALD J. TRUMP, et al.,

                                     Defendants-Appellants.
         __________________________________________________

            On appeal from the United States District Court
                     for the District of Columbia
         __________________________________________________

                         ADDENDUM TO
      APPELLEE’S PETITION FOR REHEARING EN BANC
        __________________________________________________

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                                                 INDEX
     Pursuant to Circuit Rule 40(c) and to aid the Court in reviewing
Appellee’s petition, the following documents are included in this
Addendum:

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        Majority Opinion ...............................................................................A1

        Dissent...............................................................................................A6

District Court’s Opinion (Apr. 28, 2025) ..................................................A13

District Court’s Order (Apr. 25, 2025) .....................................................A59

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                             FOR THE DISTRICT OF COLUMBIA CIRCUIT




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                                                                        1 :25-cv-00935-PLF


                                                       Filed On: May 16, 2025


National Treasury Employees Union,


              Appellee

       V.

Donald J. Trump, President of the United
States, et al.,


              Appellants


       BEFORE:       Henderson, Walker, and Childs*, Circuit Judges


                                         ORDER

     Upon consideration of the emergency motion for stay pending appeal and an
immediate administrative stay, the opposition thereto, and the reply, it is

       ORDERED that the motion for stay be granted. The Government has met the
requirements for a stay pending appeal. See Nken v. Holder, 556 U.S. 418,434 (2009).
A stay applicant must show that (1) it "is likely to succeed on the merits," (2) it "will be
irreparably injured absent a stay," (3) a stay will not "substantially injure" other
interested parties, and (4) a stay is in the "public interest." Id.

         1. The Government is likely to prevail in its appeal of the district court's
preliminary injunction. To obtain a preliminary injunction, a plaintiff must demonstrate
that it will suffer irreparable harm while the case is pending. See Winter v. NRDC, 555
U.S. 7, 20, 32 (2008). The National Treasury Employees Union failed to establish



* A statement by Circuit Judge Childs, dissenting from this order, is attached.

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irreparable harm. That is a sufficient basis for vacating a preliminary injunction. 1 See
Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290, 297 (D.C. Cir. 2006)
("movant's failure to show any irreparable harm is ... grounds for refusing to issue a
preliminary injunction, even if the other three factors ... merit such relief').

       The Union says it will suffer two irreparable harms. Neither qualifies.

        First, the Union asserts that without a preliminary injunction it will lose bargaining
power and suffer reputational harm that will deter present and future membership. But
those harms are speculative because they would materialize only after an agency
terminates a collective-bargaining agreement, and the Government directed agencies to
refrain from terminating collective-bargaining agreements or decertifying bargaining
units until after the litigation concludes. Ex. 1-B, National Treasury Employees Union v.
Trump, No. 25-cv-0935, 2025 WL 1218044 (D.D.C. Apr. 11, 2025), ECF No. 26-1; see
also Winter, 555 U.S. at 22 (irreparable harm must be "likely," not merely "possib[le]"). 2
So the Union was not entitled to equitable relief on this basis. 3

      Second, the Union says it will suffer an irreparable financial injury from the loss of
automatically withheld union dues. But such "financial injuries are rarely irreparable
because they are presumptively remediable through monetary damages." Clevinger v.
Advocacy Holdings, Inc.,_ F.4th _, No. 23-7116, 2025 WL 1197927, at *2 (D.C. Cir.
2025). Here, the Union can seek to recover missing dues in subsequent Federal Labor


       1 Because the district court's preliminary injunction is likely to be vacated for lack
of irreparable harm, we need not address the Government's arguments regarding the
Union's likelihood of success on the merits.

       2  On this point, Judge Childs' thoughtful dissent implies agreement. A version of
her question to the Government can be addressed to the Union: "How" is it possible that
the absence of "the district court injunction will cause irreparable injury when the
Government itself voluntarily imposed that same constraint?" Dissenting Statement at
5. On appeal, when the Government will prevail if it shows the Union does not need a
preliminary injunction to avoid irreparable injury, the Union will struggle to "show its own
injury from the district court" declining to enjoin "an already-paused Executive Order."
Id. at 6.
       3  To be clear, if a specific agency or subagency deviates from that self-imposed
rule, individual units may seek injunctive relief appropriately tailored to any non-
speculative, irreparable harm. But absent ongoing irreparable harm, the Union is not
entitled to equitable relief.

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Relations Authority (FLRA) proceedings if the Union ultimately prevails in this
litigation. See, e.g., U.S. Department of Defense, Ohio National Guard, 71 F.L.R.A.
829, 830 (2020) (ordering reimbursement of dues that an agency unlawfully failed to
withhold); see also 5 U.S.C. § 7118(a)(7) (authorizing the FLRA to issue an order that
gives a collective-bargaining agreement "retroactive effect" and to take "such other
action as will carry out the purpose" of the Civil Service Reform Act).

        Moreover, it is speculative that the Union will suffer a significant financial injury in
the interim. To start, the Union will continue collecting dues from some 54,000
employees who are not covered by the Executive Order. See National Treasury
Employees Union v. Trump, No. 25-cv-0935, 2025 WL 1218044, at *17 (D.D.C. Apr. 28,
2025) ("the Executive Order covers 65.9% of all NTEU-represented employees, or
approximately 104,278 employees"). In addition, nothing prevents Union members
covered by the Executive Order from voluntarily paying the dues they owe; that is, after
all, how most other voluntary membership organizations collect dues. Cf. Alachua
County Education Association v. Rubottom, No. 23-cv-111, 2023 WL 7132968, at *3
(N.D. Fla. Sept. 22, 2023) (noting that after one public employer "ceased deducting
membership dues from payroll," "about half of dues-paying members ... transitioned to
paying dues via another method," and after another public employer did so, "60% of
members ... signed up to pay dues through [an] alternative payment method").

      2. The district court's preliminary injunction inflicts irreparable harm on the
President by impeding his national-security prerogatives, which were explicitly
recognized by Congress. See 5 U.S.C. § 7103(b).

        The Union contends that if the Government suffers any harm, it would be self-
inflicted, and therefore not attributable to the preliminary injunction. That argument fails
for two reasons.

        First, the preliminary injunction is broader than the Government's self-imposed
restrictions. It prohibits agency heads from obeying Section 2 of the Executive Order
and the associated Office of Personnel Management (OPM) guidance. That guidance
instructs agency heads to "consult with their General Counsels as to how to implement
the President's directive" and to "consider" specified changes and "any others that
agencies deem necessary, consistent with the President's national security
determination." Ex. 1-A at 3, National Treasury Employees Union v. Trump, No. 25-cv-
0935, 2025 WL 1218044 (D.D.C. Apr. 11, 2025), ECF No. 26-1. In effect, the
preliminary injunction enjoins the entire implementation process, including preparatory
work. The Government's self-imposed restrictions, by contrast, recommend only that
agency heads refrain from terminating CBAs and decertifying bargaining units.


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        Second, the Government suffers irreparable harm even to the extent the
preliminary injunction overlaps with the Government's self-imposed restrictions. The
injunction eliminates the President's control over the decision to pause implementation
of the Executive Order and, by consequence, his flexibility to respond to future
developments, at least without returning to the district court. In other words, the
preliminary injunction ties the government's hands. That transfer of control, from the
Executive to the Judiciary, is more problematic where, as here, we are operating in the
national security context, an area "in which the President generally enjoys 'unique
responsibility."' Hedges v. Obama, 724 F.3d 170,200 (2d Cir. 2013) (quoting American
Insurance Association v. Garamendi, 539 U.S. 396,415 (2003)); see also Committee for
Nuclear Responsibility, Inc. v. Seaborg, 463 F.2d 788, 795 (D.C. Cir. 1971) (declining to
enter a stay against the government because the court was "in no position ... to enter a
stay order that would interject the Court into national security matters that lie outside its
province").

      3. Other parties, including the Union, will not be harmed by a stay, largely for the
same reasons that the Union will not be harmed without a preliminary injunction. The
Union claims that a stay will "nullify the collective-bargaining rights of over one-hundred
thousand NTEU-represented federal workers." Opp. 15. But that ignores the
Government's self-imposed restrictions, so it misses the mark.

        4. Finally, preserving the President's autonomy under a statute that expressly
recognizes his national-security expertise is within the public interest. To hold otherwise
would give to the courts what the Constitution gave to Congress and the President.
Ziglar v. Abbasi, 582 U.S. 120, 142 (2017) ("National-security policy is the prerogative of
the Congress and President."); Winter, 555 U.S. at 33 (vacating a preliminary injunction,
in part because there was "no basis for jeopardizing national security").




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                                         *     *      *

       For these reasons, the Government has met its burden for a stay pending appeal. 4


                                       Per Curiam


                                                          FOR THE COURT:
                                                          Clifton B. Cislak, Clerk

                                                   BY:    /s/
                                                          Selena R. Gancasz
                                                          Deputy Clerk




       4  Separately, we clarify that injunction bonds are generally required. Fed. R. Civ.
P. 65(c) ("The court may issue a preliminary injunction ... only if the movant gives
security in an amount that the court considers proper to pay the costs and damages
sustained by any party found to have been wrongfully enjoined or restrained."
(emphasis added)). Here, the district court denied the Government's request for an
injunction bond because "each of the preliminary injunction factors weigh[ed] heavily in
[the Union's] favor'' and requiring a bond would conflict with the Union's "right to seek
judicial review." National Treasury Employees Union, 2025 WL 1218044, at *21. But
that logic would apply any time a district court grants a preliminary injunction - an
exception that swallows the rule. Accordingly, we doubt that $0 was the "appropriate
bond" in this case. National Kidney Patients Association v. Sullivan, 958 F.2d 1127,
1129 (D.C. Cir. 1992); see also Edgar v. Mite Corp., 457 U.S. 624, 649 (1982) (Stevens,
J., concurring) (an injunction bond "is the moving party's warranty that the law will
uphold the issuance of the injunction"); Monzillo v. Biller, 735 F.2d 1456, 1461 (D.C. Cir.
1984) ("Rule 65( c) of the Federal Rules of Civil Procedure requires the filing of a
security bond by a party who benefits from a temporary restraining order or preliminary
injunction"); Habitat Education Center v. United States Forest Service, 607 F.3d 453,
459 (7th Cir. 2010) (because the "costs of government are borne ultimately by
taxpayers," Rule 65(c) applies no less when a "government agency" is subject to a
preliminary injunction).

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            CHILDS, Circuit Judge , dissenting: The Government moves
            for a stay pending appeal. In that posture, the burden is on the
            Government to justify a disruption to the ordinary course of
            litigation. We take such "extraordinary" action only if the
            Government makes the "critical" showing that it will suffer
            irreparable injury before the appeal concludes. Citizens for
            Resp. & Ethics in Washington v. FEC, 904 F.3d 1014, 1017,
            1019 (D.C. Cir. 2018) (per curiam). But the Government
            provides only a passing, generalized assertion of harm in its
            attempt to justify a stay. Even more telling, the Government
            purports to have already self-inflicted the same injury it claims
            a stay is necessary to prevent: it directed agencies not to
            implement the Executive Order until litigation concludes.
            Because the Government has not satisfied a threshold
            requirement for a stay, I respectfully dissent.

                                           I.

                                           A.

                 The Federal Service-Labor Management Relations Statute
            (FSLMRS) grants collective-bargaining rights to certain
            federal employees. See 5 U.S.C. §§ 7101-7135. The FSLMRS
            reflects Congress's determination that "labor organizations and
            collective bargaining in the civil service are in the public
            interest." Id. § 7101(a); see Bureau of Alcohol, Tobacco &
            Firearms v. FLRA, 464 U.S. 89, 107 (1983) ("Congress
            unquestionably intended to strengthen the position of federal
            unions and to make the collective-bargaining process a more
            effective instrument of the public interest").

                 The President may exclude an agency or subdivision from
            the scope of the FSLMRS if"(A) the agency or subdivision has
            as a primary function intelligence, counterintelligence,
            investigative, or national security work, and (B) the provisions
            of [the FSLMRS] cannot be applied to that agency in a manner
            consistent with national security requirements and




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            considerations." 5 U.S.C. § 7103 (b)(l). Presidents have
            previously excluded subdivisions of agencies or departments,
            such as the Office of Naval Intelligence in the Department of
            Defense and the National Background Investigations Bureau in
            the Office of Personnel Management. See Exec. Order No.
            12,171, § 1-205(a), 44 Fed. Reg. 66,565, 66,565 (Nov. 19,
            1979); Exec. Order No. 13,741, § 3(b), 81 Fed. Reg. 68,289,
            68,291 (Oct. 4, 2016). No prior designation has excluded an
            entire Cabinet-level agency or department.

                                          B.
                 In March 2025, President Trump issued an Executive
            Order excluding from the FSLMRS over thirty agencies or sub-
            divisions, including entire Cabinet-level agencies and
            departments like the Environmental Protection Agency; the
            Department of Justice; the Department of Veterans Affairs; the
            Department of the Treasury, except the Bureau of Engraving
            and Printing; and the Department of Energy, except the Federal
            Energy Regulatory Commission. See Exec. Order No. 14,251,
            §§ 1-3, 90 Fed. Reg. 14,553, 14,553-55 (Mar. 27, 2025). Also
            excluded are the Food and Drug Administration, the Centers
            for Disease Control and Prevention, the National Institute of
            Allergy and Infectious Diseases of the National Institutes of
            Health, the Bureau of Land Management, the National Science
            Foundation, and the Federal Communications Commission,
            among others. Id. Altogether, the Executive Order covers
            about "two-thirds of the federal workforce." A09 ,r 35. The
            Executive Order states that the excluded agencies and
            subdivisions "have as a primary function intelligence,
            counterintelligence, investigative, or national security work,"
            and that the FSLMRS "cannot be applied to those subdivisions
            in a manner consistent with national security requirements and
            considerations." 90 Fed. Reg. at 14,553 .




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                 Three documents were released alongside the Executive
            Order. The White House published a "Fact Sheet," which
            states that the FSLMRS "enables hostile Federal unions to
            obstruct agency management" and that certain unions "have
            declared war on President Trump's agenda." 1 The Office of
            Personnel Management (OPM) issued guidance stating that
            excluded agencies "are no longer subject to the collective-
            bargaining requirements" of the FSLMRS and "are no longer
            required to collectively bargain with Federal unions." Dkt. 26-
            1 at 6. An interagency forum led by the OPM Director
            distributed a Frequently Asked Questions (FAQ) document to
            the excluded agencies, advising that agencies should not
            terminate any collective-bargaining agreements or file any
            petitions to decertify bargaining units until litigation
            concludes. Dkt. 26-1 at 13.

                A federal employee labor organization, the National
            Treasury Employees Union (NTEU), filed suit, and the district
            court issued a preliminary injunction. The Government
            appealed and sought a stay pending appeal.

                                          II.

                 As the party seeking a stay pending appeal, the
            Government must (1) make a "strong showing that [it] is likely
            to succeed on the merits" of the appeal; (2) demonstrate that it
            will be "irreparably injured absent a stay" before the appeal
            concludes; (3) show that issuing a stay will not "substantially
            injure the other parties interested in the proceeding"; and (4)
            establish that "the public interest" favors a stay. Nken v.

            1
             The White House, Fact Sheet: President Donald J. Trump Exempts
            Agencies with National Security Missions from Federal Collective
            Bargaining Requirements (Mar. 27, 2025), https://perma.ccN7HR-
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            Holder, 556 U.S. 418, 434 (2009) (quoting Hilton v.
            Braunskill, 481 U.S. 770, 776 (1987)). "Although the
            plaintiffl] must show irreparable injury to secure an injunction,
            it is now the defendant[ s] who-seeking relief from an
            injunction so obtained-must show irreparable injury absent a
            stay of the injunction." JG.G. v. Trump, 2025 WL 914682, at
            * 11 (D.C. Cir. Mar. 26, 2025) (Henderson, J., concurring).

                 Accordingly, the Government's "showing of irreparable
            harm is a necessary prerequisite for a stay." KalshiEX LLC v.
            CFTC, 119 F.4th 58, 64 (D.C. Cir. 2024). "[T]he injury must
            be both certain and great; it must be actual and not theoretical.
            Injunctive relief will not be granted against something merely
            feared as liable to occur at some indefinite time." Wisconsin
            Gas Co. v. FERC, 758 F.2d 669, 674 (D.C. Cir. 1985)
            (quotations omitted).

                 Despite this weighty burden, the Government glides over
            its obligation to show irreparable injury. In one brief
            paragraph, the Government claims that a stay would protect the
            President's ability "to guarantee the effective operation of
            agencies relevant to national security without the constraints of
            collective bargaining." Stay Mot. 26-27. But the district
            court's injunction maintains the state of affairs that has existed
            for nearly half a century: NTEU has bargained on behalf of
            federal workers since the 1970s. A14-16 Jrlr 47-57. The
            Government does not explain why irreparable injury will result
            from continuing this decades-long practice for a short period of
            time while we adjudicate the merits of this appeal. Instead, it
            relies only on a generalized statement that interference with
            "the government's investigation, intelligence, and national-
            security functions--or ... the government's ability to supervise
            the employees engaged in such work-would appreciably
            injure the Nation's interests." Stay Mot. 26-27 (cleaned up).




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             Such vague assertions of harm dependent on the merits of the
             dispute are insufficient to show irreparable injury.

                  The one specific representation the Government offers
             regarding the consequences of the Executive Order undercuts
             its own argument. 2 Relying on OPM's FAQ document, the
             Government asserts, and the majority accepts, that the excluded
             agencies have been directed not to act on the Executive Order
             during the pendency of this litigation. The FAQ document
             states that excluded agencies "should not terminate any
             [collective-bargaining agreements] until the conclusion of
             litigation or further guidance from OPM directing such
             termination" and "should not file any [petitions to decertify
             bargaining units] until litigation regarding Exclusions has been
             resolved." Dkt. 26-1 at 13. But this very representation casts
             doubt on the Government's own asserted injury. How can the
             Government argue that the district court injunction will cause
             irreparable injury when the Government itself voluntarily
             imposed that same constraint? At this stage, it is the
             Government's obligation to provide an answer, and it offers
             none.

                  And while the Government claims injury from its inability
             to implement the Executive Order, at the same time it claims
             the Executive Order will remain without effect even in the
             absence of the district court injunction. The Government
             asserts that NTEU does not suffer irreparable harm to justify

             2
               I make no conclusions about the Government's likelihood of
             success on the merits of its appeal because, even accepting the
             Government's representations, it is unable to make the requisite
             showing of irreparable injury to justify a stay. See Wisconsin Gas
             Co., 758 F.2d at 674 ("We believe that analysis of the second factor
             disposes of these motions and, therefore, address only whether the
             petitioners have demonstrated that in the absence of a stay, they will
             suffer irreparable harm.").




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             the district court's injunction and will not be harmed by a
             temporary stay on appeal because, per the FAQ document,
             "agencies have been advised not to terminate collective
             bargaining agreements at this time and not to decertify
             bargaining units until ' litigation is final."' Stay Mot. 27
             (quoting Dkt. 26-1 at 13). But the Government does not
             explain how it can show its own injury from the district court
             enjoining an already-paused Executive Order. To grant a stay,
             we would need to find with one hand that the Executive Order
             still has real-world operation for purposes of the Government's
             irreparable harm, but with the other hand that the Executive
             Order has none at all for purposes of NTEU's. The
             Government fails to even address this inconsistency.

                  The majority offers two possibilities to resolve the
             contradiction the Government has teed up: (1) that the
             preliminary injunction is broader than the Government's self-
             imposed restrictions, and (2) that the preliminary injunction
             eliminates the Government' s ability to adjust its self-imposed
             restrictions in the future . I am not persuaded either is enough.

                  First, the majority teases out a gap between the scope of
             the district court's injunction and the Government's own,
             resting its finding of irreparable harm on the Government's
             inability to operate within that gap. The Government has not
             put forth this argument. Nor has the Government represented
             that it actually intends to take any action within that gap during
             the course of this appeal. Or how an inability to take such
             action causes an irreparable, cognizable injury. At this stage,
             before granting emergency relief, I would require the
             Government provide us with more.

                 Second, the possibility of some future harm stemming
             from the Government's inability to rescind its own directive is
             insufficient. The district court order may well tie the




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             Government's hands at some point in the future, but we do not
             issue preemptive relief.        Courts have long held that
             "[i]njunctions . . . will not issue to prevent injuries neither
             extant nor presently threatened, but only merely feared."
             Comm. in Solidarity with People ofEl Sal. v. Sessions, 929 F.2d
             742, 745-46 (D.C. Cir. 1991) (quotations omitted); see
             KalshiEX LLC, 119 F .4th at 65 ("Perhaps the Commission will
             amass more evidence substantiating its fears . . . but, on the
             evidence provided to this court, those fears-as yet-fail to rise
             beyond the speculative level." (quotations omitted)). The
             Government cannot carry its burden for a stay pending appeal
             based only on the possibility that someday there could be a risk
             of irreparable harm.

                                           III.

                 The Government does not identify imminent harm
             warranting emergency relief. An extraordinary use of our
             equitable powers requires more than the vague assertions of
             harm provided here. In the absence of irreparable injury, the
             Government's merits arguments are better suited to the panel
             designated to hear them.




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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
                                    )
NATIONAL TREASURY EMPLOYEES )
UNION,                              )
                                    )
            Plaintiff,              )
                                    )
      v.                            )                 Civil Action No. 25-0935 (PLF)
                                    )
DONALD J. TRUMP et al.,             )
                                    )
            Defendants.             )
____________________________________)


                                            OPINION

               In 1978, Congress passed the Federal Service Labor-Management Relations

Statute. This landmark piece of legislation codified the rights of federal employees to

collectively bargain and "participate through labor organizations of their own choosing in

decisions which affect them." 5 U.S.C. § 7101(a)(l). In passing the statute, Congress spoke

unequivocally: "labor organizations and collective bargaining in the civil service are in the

public interest." 5 U.S.C. § 7101(a). Congress's determination that these rights should apply

broadly - and that those rights "contribute[] to the effective conduct of public business," 5

U.S.C. § 7101(a)(l)(B)-was undisturbed for decades, governing the state of the federal

workforce despite changes in the composition of Congress and presidential administrations.

               This all changed on March 27, 2025. On that day, President Trump issued an

Executive Order invoking 5 U.S.C. § 7103(b)(l), which permits the President to "issue an order

excluding any agency or subdivision thereof from coverage" of the Federal Service Labor-

Management Relations Statute if the President determines that "the agency or subdivision has as




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a primary function intelligence, counterintelligence, investigative, or national security work,"

and that the statute's provisions "cannot be applied to that agency or subdivision in a manner

consistent with national security requirements and considerations." The effect of the Executive

Order was substantial: it removed collective bargaining rights from approximately two-thirds of

the federal workforce. In response to this sweeping Executive Order, the National Treasury

Employees Union ("NTEU") filed the instant action challenging the Executive Order, arguing

that the President exceeded his power when issuing the order.

               NTEU filed a motion for a preliminary injunction on April 4, 2025. See

Plaintiffs Motion for a Preliminary Injunction ("Pl.'s Mot.") [Dkt. No. 9]. The Court held oral

argument on the motion on April 23, 2025. Upon careful consideration of the parties' written

submissions, their oral arguments, and the relevant authorities, the Court granted NTEU's

motion for a preliminary injunction. See Order of April 25, 2025 [Dkt. No. 32].1


                                       I. BACKGROUND

                                    A. Statutory Background

               The Federal Service Labor-Management Relations Statute set forth in Title VII of

the Civil Service Reform Act, Pub. L. No. 95-454, § 701, 92 Stat. 1111, 1191-1216 (1978)

(codified at 5 U.S.C. §§ 7101-35) ("FSLMRS") , provides certain protections of the "right of

employees to organize, bargain collectively, and participate through labor organizations of their




       1
               The papers reviewed by the Court in connection with this matter include:
Complaint for Declaratory and Injunctive Relief ("Compl.") [Dkt. No. 1] ; Plaintiffs Motion for
a Preliminary Injunction ("Pl.'s Mot.") [Dkt. No. 9] ; Memorandum of Points and Authority in
Support of PlaintiffNTEU's Motion for a Preliminary Injunction ("Pl.'s Mem.") [Dkt. No. 9-1];
Defendants' Opposition to Plaintiffs Motion for Preliminary Injunction ("Opp.") [Dkt. No. 26];
and Plaintiff NTEU' s Reply in Support of its Motion for a Preliminary Injunction ("Pl.' s Reply)
[Dkt. No. 29].


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own choosing in decisions which affect them .... " 5 U.S.C. § 7101(a)(1). In passing the

statute, Congress found that based on "experience in both private and public employment," the

protections were necessary to "safeguard[] the public interest," "contribute[] to the effective

conduct of public business," and "facilitate[] and encourage[] the amicable settlements of

disputes between employees and their employers involving conditions of employment " Id. In

sum, Congress found that"labor organizations and collective bargaining in the civil service are

in the public interest " Id.

                Among other things, the FSLMRS requires federal agencies to collectively

bargain " with respect to the conditions of employment affecting such employees " 5 U.S.C.

§ 7103(a)(12). The statute provides a role for "labor organizations" in this collective bargaining

process, stating:

                A labor organization which has been accorded exclusive recognition
                is the exclusive representative of the employees in the unit it
                represents and is entitled to act for, and negotiate collective
                bargaining agreements covering, all employees in the unit. An
                exclusive representative is responsible for representing the interests
                of all employees in the unit it represents without discrimination and
                without regard to labor organization membership.

5 U.S.C. § 7114(a)(1).

                While Congress extended these protections to " many" federal employees, it did

not " include the entire federal workforce within this regime ." Am. Fed'n of Gov't Emps., AFL -

CIO v. Reagan, 870 F.2d 723, 724 (D.C. Cir. 1989) "The Act itself exempted several federal

agencies from coverage," _id., including the Federal Bureau of Investigation, the Central

Intelligence Agency, and the National Security Agency. See 5 U.S.C. § 7103(a)(3). In addition

to these explicit exclusions, " Congress also addressed the matter of national security " in

Section 7103(b). Soc. Sec. Admin. Baltimore, Maryland (Agency) & Am. Fed'n of Gov' t Emps.




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(Petitioner/Labor Org.), 59 F.L.R.A. 137, 143 (Sept. 12, 2003). Specifically, Congress granted

the President the authority to either exclude or suspend certain "agenc[ies] or subdivision[s]

thereof' from the statute's coverage. _See 5 U.S.C. § 7103(b). Section 7103(b) provides:

               (1) The President may issue an order excluding any agency or
               subdivision thereof from coverage under this chapter if the President
               determines that

                      (A) the agency or subdivision has as a primary function
                      intelligence, counterintelligence, investigative, or national
                      security work, and

                      (B) the provisions of this chapter cannot be applied to that
                      agency or subdivision in a manner consistent with national
                      security requirements and considerations.

               (2) The President may issue an order suspending any provision of
               this chapter with respect to any agency, installation, or activity
               located outside the 50 States and the District of Columbia, if the
               President determines that the suspension is necessary in the interest
               of national security.

5 U.S.C. § 7103(b). The exclusion provided in Section 7103(b)(1) has been invoked numerous

times since the passage of the FSLMRS.2 As NTEU points out, however, Section 7103(b)(1) has

never been invoked to exclude an entire cabinet-level department from the FSLMRS. See Pl.'s

Mem. at 4.



       2
               See Exec. Order No. 12171, 44 Fed. Reg. 66565 (1979); Exec. Order No. 12338,
47 Fed. Reg. 1369 (1982); Exec. Order No. 12410, 48 Fed. Reg. 13143 (1983); Exec. Order
No. 12559, 51 Fed. Reg. 18761 (1986); Exec. Order No. 12632, 53 Fed. Reg. 9852 (1988); Exec.
Order No. 12666, 54 Fed. Reg. 1921 (1989); Exec. Order No. 12671, 54 Fed. Reg. 11157 (1989);
Exec. Order No. 12681, 54 Fed. Reg. 28997 (1989); Exec. Order No. 12693, 54 Fed. Reg. 40629
(1989); Exec. Order No. 13039, 62 Fed. Reg. 12529 (1997); Exec. Order No. 13252, 67 Fed.
Reg. 1601 (2002); Exec. Order No. 13381, § 5(b), 70 Fed. Reg. 37955 (2005); Exec. Order
No. 13467, § 3(d), 73 Fed. Reg. 38107 (2008); Exec. Order No. 13480, §§ 2-6, 73 Fed.
Reg. 73991, 73992 (2008); Exec. Order No. 13741, § 3, 81 Fed. Reg. 68291 (2016); Exec. Order
No. 13760, §2, 82 Fed. Reg. 5325 (2017); Exec. Order No. 13869, §3(b), 84 Fed. Reg. 18130
(2019); see also 5 U.S.C. § 7103, U.S. Government Publishing Office, available at
https://www.govinfo.gov/content/pkg/USCODE-2019-title5/html/USCODE-2019-title5-partIII-
subpartF-chap71-subchapI-sec7103.htm [https://perma.cc/4JFC-SQXY].


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                                     B. Factual Background

                                     1. The Executive Order

               On March 27, 2025, President Trump issued an executive order titled"Exclusions

from Federal Labor-Management Relations Programs
                                                        ,,
                                                             Exec. Order No. 14251, 90 Fed.

Reg. 14553 (Mar. 27, 2025) ("Executive Order"). Section 2 of the Executive Order amends a

previous executive order    Executive Order 12171 of November 19, 1979         which had excluded

various agencies and subdivisions from the FSLMRS pursuant to Section 7103(b). See Exec.

Order No. 12171, 44 Fed. Reg. 66565, 66565 (Nov. 19, 1979). The March 27, 2025 Executive

Order states that "[t]he agencies and agency subdivisions set forth in section 2 of this order are

hereby determined to have as a primary function intelligence, counterintelligence, investigative,

or national security work," and that it has been "determined that Chapter 71 of title 5, United

States Code, cannot be applied to these agencies and agency subdivisions in a manner consistent

with national security requirements and considerations ." Executive Order § 1(a).

               As is relevant to NTEU, the Executive Order excludes from the FSLMRS the

following agencies and subdivisions "where NTEU represents employees as the exclusive

bargaining unit representative":

               Department of Treasury, Internal Revenue Service, IRS Office of
               Chief Counsel, Bureau of Fiscal Service, Departmental Offices,
               Alcohol and Tobacco Trade and Tax Bureau, Office of Comptroller
               of the Currency;

               Department of Energy;

               Department of Justice, Civil Rights Division and Environment and
               Natural Resources Division;

               Environmental Protection Agency;

               Federal Communications Commission;




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               Department of Health and Human Services, the Office of the
               Secretary, the Food and Drug Administration, the Administration
               for Strategic Preparedness and Response, the Centers for Disease
               Control and Prevention, and the Office of Refugee Resettlement
               within the Administration of Children and Families; and

               Department of the Interior, Bureau of Land Management.

Declaration of Daniel Kaspar ("Kaspar Deel.") [Dkt. No. 9-2] ¶ 6; see Executive Order § 2.

According to NTEU, the"Executive Order singly eliminates collective bargaining for some two-

thirds of the federal workforce ." Pl.'s Mem. at 5.

               A "Fact Sheet" was issued by the White House the same day that the Executive

Order was issued. See Fact Sheet: President Donald J. Trump Exempts Agencies with National

Security Missions from Federal Collective Bargaining Requirements (Mar. 27, 2025),

https://www.whitehouse.gov/fact-sheets/2025/03/fact-sheet-president-donald-j-trump-exempts-

agencies-with-national-security-missions-from-federal-collective-bargaining-requirements/

[https://perma.cc/Y7HR-4W3H] ("Fact Sheet"). The Fact Sheet is divided into three parts. First,

it lists eight "national security missions" - ''National Defense," "Border Security," "Foreign

Relations," "Energy Security," "Pandemic Preparedness, Prevention, and Response,"

"Cybersecurity," "Economic Defense," and "Public Safety" - and provides descriptions of each

of these missions. See Fact Sheet. Second, in a section titled "Ensuring that Agencies Operate

Effectively," the Fact Sheet explains that the Civil Service Reform Act " enables hostile Federal

unions to obstruct agency management," and that this"is dangerous in agencies with national

security responsibilities " See id. Finally, in a section titled "Safeguarding American Interests,"

the Fact Sheet explains:

               President Trump is taking action to ensure that agencies vital to
               national security can execute their missions without delay and
               protect the American people. The President needs a responsive and
               accountable civil service to protect our national security.



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                      • Certain Federal unions have declared war on President
                           Trump's agenda.

                              o The largest Federal union describes itself as
                                "fighting back" against Trump. It is widely filing
                                grievances to block Trump policies.

                              o For example, VA's unions have filed 70 national
                                and local grievances over President Trump's
                                policies since the inauguration an average of
                                over one a day.

                       •   Protecting America's national security 1s a core
                           constitutional duty, and President Trump refuses to let
                           union obstruction interfere with his efforts to protect
                           Americans and our national interests.

                      • President Trump supports constructive partnerships with
                           unions who work with him; he will not tolerate mass
                           obstruction that jeopardizes his ability to manage
                           agencies with vital national security missions.

Fact Sheet at 3.

               On the same day, the Office of Personnel Management ("OPM") issued a

memorandum titled "Guidance on Executive Order Exclusives from Federal Labor-Management

Programs." See Charles Ezell, Guidance on Executive Order Exclusions from Federal Labor-

Management Programs, OPM, Mar. 27, 2025, https://www.opm.gov/policy-data-oversight/latest-

memos/guidance-on-executive-order-exclusions-from-federal-labor-management-programs.pdf

[https://perma.cc/QH4A-MQ9F] (" OPM Guidance" ). The OPM Guidance states that pursuant to

the Executive Order and Section 7103(b), " covered agencies and subdivisions are no longer

subject to the collective-bargaining requirements"of the FSLMRS and "are no longer required to

collectively bargain with federal unions." OPM Guidance at 3. The document also states that

"Federal unions" "lose their status as the 'exclusively recognized' labor organizations for

employees of the agencies and agency subdivisions covered by Exclusions" in the Executive


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Order. Id. (alterations omitted) (referencing 5 U.S.C. § 7111(a)); see 5 U.S.C. § 7111(a) ("An

agency shall accord exclusive recognition to a labor organization if the organization has been

selected as the representative . . . by a majority of the employees in an appropriate unit who cast

valid ballots in the election .").


                                     2. The Instant Litigation

                On March 31, 2025, NTEU filed this lawsuit. See Compl. NTEU brings three

counts: (1) Section 2 of the Executive Order "is unlawful and ultra vires because it conflicts

with 5 U.S.C. § 7103(b)(1 )"; (2) Section 2 of the Executive Order "is unlawful and ___
                                                                                    ultra vires
                                                                                           _

because it conflicts with 5 U.S.C. Chapter 71"; and (3) Section 2 of the Executive Order "is

                                                                                        See_
unlawful because it reflects retaliation in violation ofNTEU's First Amendment rights." _  id.

¶¶ 78-95. NTEU seeks, inter alia, an injunction enjoining all the defendants     excluding the

President - from "implementing" Section 2 of the Executive Order and OPM Guidance related to

the Executive Order.


                                       II. JURISDICTION

                The government's first argument is that that the Court lacks jurisdiction over this

case. See Opp. at 12- 16. In support, the government contends that Congress created a "special

statutory review scheme"in the FSLMRS, and that such a scheme precludes this Court's review

under Thunder Basin Coal Co. v. Reich, 510 U.S. 200 (1994).

                The Supreme Court has recognized that "[a] special statutory review

scheme . . . may preclude district courts from exercising jurisdiction over challenges to federal

agency action " Axon Enter., Inc. v. FTC, 598 U.S. 175, 185 (2023) (citing Thunder Basin Coal

Co._
_  v._
     Reich
       __, 510 U.S. at 207). While Congress may create such a "statutory review scheme"




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explicitly, it may also do so implicitly by "specifying a different method to resolve claims about

agency action," such as by providing for "review in a court of appeals following the agency s

own review process " Id.; see Vape Cent. Grp., LLC v. U.S. Food & Drug Admin., Civil Action

No. 24-3354 (RDM), 2025 WL 637416, at *4 (D.D.C. Feb. 27, 2025). To determine whether

district court review is precluded, courts apply a two-step approach. At the first step, the court

determines whether Congress has " preclude[d] district court jurisdiction by establishing an

alternative statutory scheme for administrative and judicial review ." Am. Fed'n of Gov't Emps.,

AFL-CIO v. Trump, 929 F.3d 748, 754 (D.C. Cir. 2019). Congress can be found to have done so

"when (i) such intent is fairly discernible in the statutory scheme, and (ii) the litigant's claims are

of the type Congress intended to be reviewed within [the] statutory structure." _Id. (citation and

quotation marks omitted).

               At the second step, courts consider whether the plaintiffs claim falls within this

"alternative statutory scheme for administrative and judicial review." Am. Fed'n of Gov't

Emps., AFL-CIO v. Trump, 929 F.3d at 754. To answer this question, courts consider three

factors: (1) whether precluding district court jurisdiction would "foreclose all meaningful

judicial review" of the claim; (2) whether the claim is "wholly collateral to [the] statute' s review

provisions"; and (3) whether the claim is "outside the agency s expertise." Axon Enter., Inc. v.

Fed. Trade Comm n, 598 U.S. at 186 (quoting Thunder Basin Coal Co. v. Reich, 510 U.S.

at 212-13); see Nat'l Ass'n for the Advancement of Colored People v. United States Postal Serv.,

496 F. Supp. 3d 1, 14 (D.D.C. 2020) (subsequent history omitted). " When the answer to all three
                                                                                                  ,,,
questions is yes, ' [the Court] presume[s] that Congress does not intend to limit jurisdiction.

Axon Enter., Inc. v. Fed. Trade Comm n, 598 U.S. at 186 (quoting Free Enter. Fund v. Pub. Co.

Acct.
_ __  Oversight
        _ _ _Bd.,
                _ 561 U.S. 477,489 (2010)). In the event the factors "point in different




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directions," "[t]he ultimate question is how best to understand what Congress has done        whether

the statutory review scheme, though exclusive where it applies, reaches the claim in question "

Id.;_
_   see_
       Vape
         __ Cent.
              _Grp.,
                  __ LLC
                      __ v. U.S.
                            __   Food
                                   __ & Drug
                                        __   Admin.
                                              __, 2025 WL 637416, at *5 ("[I] f the

factors point in different directions . . . . courts must return to the lodestar of whether Congress

intended the type of claim at issue to be swept into the statutory enforcement scheme. ") (internal

citation and quotation marks omitted).

               The Court concludes that its jurisdiction is not precluded in this case. The

government's argument is essentially that NTEU must pursue its claims using the administrative

review scheme created by Congress in the FSLMRS          the Federal Labor Relations Authority

("FLRA")- rather than by bringing claims in a federal district court. See Opp. at 12-13. The

administrative review scheme, however, is not available to challenge the Executive Order's

exclusions of the agencies and subdivisions subject to the Executive Order for the simple reason

that those agencies and subdivisions have been excluded from the FSLMRS' s coverage by the

very Executive Order at issue here. _See Pl.' s Reply at 17 (arguing that the "Executive Order has

taken away the administrative channels that Defendants argue must be used). The relevant

precedents from the FLRA make this point clear. See
                                                _ United States Dep't of the Air Force Air

Force Materiel Command Warner Robins Air Logistics Ctr. Robins Air Force Base, Georgia

(Respondent) & Am. Fed'n of Gov' t Emps. Loc. 987 (Charging Party/union), 66 F.L.R.A. 589,

598 (Apr. 20, 2012) ("[T] he Authority has determined that an exemption from coverage

constitutes a jurisdictional bar to its consideration of unfair labor practice complaints raised

under the Statute"); _________________________                                           _
                     Department of the Navy, Naval Telecommunications Ctr., Ward Circle and

NAVTELCOM Unit Local No. 1, American Federation of Government Employees, 6 F.L.R.A.

498, 500 (1981) ("Where the President has specifically excluded an agency from coverage under




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the Statute by issuing an executive order, the Authority is clearly without jurisdiction to process

a representation petition.").

               Indeed, the exact case the government contends NTEU should bring to the FLRA

was attempted in 2002 in the context of a different executive order invoking the

Section 7103(b)(1) exclusion, and the FLRA dismissed the case for lack of jurisdiction. See

United States Att ys Off. S. Dist. of Texas Houston, Texas (Respondent) & Am. Fed 'nofGov't

Emps. Loc. 3966 (Charging Party), 57 F.L.R.A. 750 (Apr. 25, 2002). In a brief opinion, the

FLRA summarized the case and explained why it lacked jurisdiction, stating:

               In each of these cases, the Respondent is the United States
               Attorney's Office for the Southern District of Texas. On January 7,
               2002, the President issued Executive Order 13252, "Exclusions
               From the Federal Labor-Management Program," exempting, as
               relevanthere, United States Attorneys' Offices from coverage of the
               Federal Service Labor-Management Relations Statute (the Statute).

               Subsequently, the Authority requested and received submissions
               from the parties as to why these cases should not be dismissed for
               lack of jurisdiction in light of the Executive Order. In their
               submissions, the General Counsel and the Respondent agree that,
               since the Executive Order exempts United States Attorneys' Offices
               from coverage of the Statute, the Authority lacks jurisdiction to
               decide the cases and should dismiss the complaints.

               We agree that, in light of Executive Order 13252, the Authority
               lacks jurisdiction to decide these cases. Accordingly, we dismiss
               the complaints.

United States Att'ys Off. S. Dist. of Texas Houston, Texas (Respondent) & Am. Fed'n of Gov't

Emps. Loc. 3966 (Charging Party), 57 F.L.R.A. at 750 (footnotes omitted).

               In view of this precedent, the Court can think of no reason why the FLRA would

decide to exercise jurisdiction over NTEU's case. In fact, NTEU has already brought a case

before the FLRA, which has since "issued an order asking why NTEU' s case before it ... should

not be dismissed for lack of jurisdiction," citing United States Att'ys Off. S. Dist. of Texas



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Houston, Texas (Respondent) & Am. Fed'n of Gov't Emps. Loe. 3966 (Charging Party) , 57

F.L.R.A. at 750. _See Pl.'s Reply at 18; Exhibit 17 to Supplemental Declaration of Daniel Kaspar

("Kaspar Supp. Deel.") [Dkt. No. 29-1 at ECF 65-69] (FLRA's order to show cause "why the

[FLRA] should not dismiss [NTEU' s case] for lack of jurisdiction").

               At oral argument, the government agreed that the FLRA likely would determine

that it lacks jurisdiction over NTEU's case challenging the Executive Order. See Transcript

(" Tr." ) [Dkt. No. 33] at 21:16-22:5. The government asserts , however, that this Court's

jurisdiction is nevertheless precluded because the "special administrative review scheme" can

still be followed. See id. at 21:25-23:23. Specifically, the government contends that NTEU

must bring its claim to the FLRA    which the FLRA will dismiss for lack of jurisdiction     and

then appeal the FLRA's dismissal to a United States court of appeals, where NTEU can raise its

arguments related to the validity of the Executive Order. See id.; see also 5 U.S.C. § 7123(a)

(outlining appeal process to a United States court of appeals); Am. Fed'n of Gov't Emps. v.

Sec'y of Air Force, 716 F.3d 633, 636 (D.C. Cir. 2013); Am. Fed'n of Gov' t Emps., AFL-CIO v.

Trump, 929 F.3d 748 (D.C. Cir. 2019). The government 's argument misses the point: the

administrative process of the FSLMRS cannot and does not govern here because the Executive

Order at issue removed the agencies and subdivisions in question from coverage of the

FSLMRS. In other words, this case is distinguishable from the cases relied on by the

government where the unions had "several administrative options for challenging the executive

orders .... " _See Am. Fed'n of Gov't Emps., AFL -CIO v. Trump, 929 F.3d at 757 (internal

quotation marks omitted); -
                          see-
                             also
                               -Am.
                                  - -Fed
                                      - n-of-Gov
                                              -- t Emps.
                                                    - -v.-Sec
                                                           -- y of
                                                                 -Air
                                                                   - Force,
                                                                      - - 716 F.3d
at 637 ("Because the FSLMRS s remedial regime is exclusive, providing [plaintiff] with multiple

options to challenge the [policy], [plaintiff] cannot circumvent this regime by instead bringing a




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                                               A24
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suit in district court."). In the instant case, by virtue of the Executive Order, the claims   and

indeed NTEU itself now are "expressly outside the FLRA's purview." _
                                                                   See_
                                                                      Am.
                                                                        __Fed_n_of

Gov t Emps., AFL-CIO, Loc. 446 v. Nicholson, 475 F.3d 341, 348 (D.C. Cir. 2007). Because

there is no "special statutory review scheme" that is actually available to NTEU for reviewing its

claim, this Court is not deprived of jurisdiction.


                                III. PRELIMINARY INJUNCTION

                                         A. Legal Standard

               A movant seeking preliminary injunctive relief must make a "clear showing that

four factors, taken together, warrant relief: likely success on the merits, likely irreparable harm

in the absence of preliminary relief, a balance of the equities in its favor, and accord with the

                  Archdiocese of Washington v. Wash. Metro. Area Transit Auth.,
public interest." _______________________                                   _ 897 F.3d 314,

321 (D.C. Cir. 2018) (quoting League of Women Voters v. Newby, 838 F.3d 1, 6 (D.C.

Cir. 2016)); -
             see-also
                  --  Sherley
                       - - -v.-Sebelius,
                                - - - 644 F.3d 388, 392 (D.C. Cir. 2011) (noting that a
preliminary injunction "may only be awarded upon a clear showing that the plaintiff is entitled to

                      Winter
such relief' (quoting _ _ _v._Nat.
                               __  Res.
                                    __  Def.
                                          _Council,
                                             ____   Inc.,
                                                      _ 555 U.S. 7, 22 (2008))). Of these,

the most important factor is whether a movant has established a likelihood of success on the

merits. See Aamer v. Obama, 742 F.3d 1023, 1038 (D.C. Cir. 2014); Bailey v. Fed. Bureau of

Prisons, Civil Action No. 24-1219 (PLF), 2024 WL 3219207, at *3 (D.D.C. June 28, 2024)

               Before the Supreme Court s decision in Winter, courts in this Circuit weighed

these four factors on a "sliding scale," under which the movant need not "make as strong a

showing" on one factor if they "make[] an unusually strong showing" on another. Davis v.

Pension Benefit Guar. Corp., 571 F.3d 1288, 1291-92 (D.C. Cir. 2009) (quoting Davenport v.

Int l Bhd. of Teamsters, 166 F.3d 356, 361 (D.C. Cir. 1999)); accord Damus v. Nielsen, 313 F.



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Supp. 3d 317, 326 (D.D.C. 2018). This Circuit has suggested, however, that "a likelihood of

success" and "a likelihood of irreparable harm" are "independent, free -standing requirement[s]

                               Sherley
for a preliminary injunction." _ _ _v. _Sebelius,
                                         _ __ 644 F.3d at 392-93 (quoting Davis v. Pension

Benefit Guar. Corp., 571 F.3d at 1296 (Kavanaugh, J., concurring)); see Archdiocese of

Washington v. Wash. Metro. Area Transit Auth., 897 F.3d at 334 (declining to resolve whether

                                                  Winter);
the "sliding scale" approach is still valid after _ __ Nat'l Treasury Emps. Union v. Vought,

Civil Action No. 25-0381 (ABJ), 2025 WL 942772, at *19 (D.D.C. Mar. 28, 2025). Regardless,

"a failure to show a likelihood of success on the merits alone is sufficient to defeat a

preliminary-injunction motion." _
                                Standing
                                   ___   Rock
                                          _ _Sioux
                                              _ _Tribe
                                                   _ _ v.
                                                       _U.S.
                                                          _ _Army
                                                              _ _ Corps
                                                                  ___   of_
                                                                          Eng
                                                                            __rs, 205

F. Supp. 3d 4, 26 (D.D.C. 2016) (citing Ark. Dairy Coop. Ass n v. U.S. Dep t of Agric., 573

F.3d 815, 832 (D.C. Cir. 2009)); -
                                 see-
                                    also
                                      -M.G.U.
                                         - - -v.-
                                                Nielsen,
                                                  - - 325 F. Supp. 3d 111, 117-18
(D.D.C. 2018).

               For each of its claims, NTEU bears the burden of persuasion. Chaplaincy of Full

Gospel Churches v. England, 454 F.3d 290, 297 (D.C. Cir. 2006). NTEU also "bears the burden

of producing credible evidence sufficient to demonstrate [its] entitlement to injunctive relief."

Workman v. Bissessar, 275 F. Supp. 3d 263, 267 (D.D.C. 2017).


                              B. Likelihood of Success on the Merits

               The core of the parties' dispute centers on whether the President exceeded the

authority afforded to him in the FSLMRS when he excluded the agencies and subdivisions under

Section 7103(b)(1). NTEU contends that the President's Executive Order was ultra vires,

arguing that each of the agencies and subdivisions listed in the Executive Order     agencies which

employ nearly two-thirds of the federal workforce, see Pl.'s Mem. at 24      do not meet the criteria

listed in Section 7103(b)(1). See id. at 10-24. The government makes two general arguments in



                                                 14
                                                A26
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response. First, the government argues that the Court lacks the authority to review the

President's "national security-related determinations under" Section 7103(b) or, at a minimum,

that it owes significant deference to the President's conclusion that the particular agencies and

subdivisions subject to the Executive Order are excludable from the FSLMRS. See Opp.

at 17-20. Second, in the event the Court does review the President's determination, the

government contends that the identified agencies and subdivisions meet the criteria listed in

Section 7103(b)(1). See id. at 17-28.

               The D.C. Circuit's decision in ~~~~~~~-----------
                                              Am. Fed'n of Gov' t Emps., AFL-CIO v. Reagan is

instructive on how the Court must consider the legal issue before it. See Am. Fed n of Gov t

Emps., AFL-CIO v. Reagan, 870 F.2d 723 (D.C. Cir. 1989). In that case, unions representing

federal employees challenged President Reagan's executive order excluding certain subdivisions

of the United States Marshals Service from coverage under the FSLMRS pursuant to

Section 7103(b). See id. at 725; see also Exec. Order No. 12559, 51 Fed. Reg. 18761 (1986).3

The district court concluded that President Reagan's executive order was invalid because it failed

to provide the basis by which the President determined that the criteria in Section 7103(b)(1) had

been satisfied. See Am. Fed n of Gov t Emps., AFL-CIO v. Reagan, 870 F.2d at 727-28. The

district court had reasoned that the bases for the President's authority to issue the executive order

must be provided in some way, and that "the absence of determinations or findings in the

[executive order], the lack of any language incorporating and republishing prior findings and

determinations, and the absence of a separate source of executive power sufficient to sustain the



       3
               More specifically, Executive Order 12559 excluded"The Office of Special
Operations, the Threat Analysis Group, the Enforcement Operations Division, the Witness
Security Division and the Court Security Division in the Office of the Director and the
Enforcement Division in Offices of the United States Marshals in the United States Marshals
         ,,
Services.


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action"meant the executive order was "not a valid exercise of power under § 7103(b)." Am.

Fed'n of Gov't Emps., AFL -CIO v. Reagan, 665 F. Supp. 31, 34 (D.D.C. 1987).

               The D.C. Circuit disagreed and reversed the district court. See Am. Fed n of

Gov t Emps., AFL-CIO v. Reagan, 870 F.2d at 728. The court of appeals began by noting that

" Section 7103(b)(1) makes clear that the President may exclude an agency from the Act s

coverage whenever he determines that the conditions statutorily specified exist " and that the

district court imposed an extra-statutory obligation of requiring " the President to insert written

findings into an exempting order . . . ." Id. at 727. As to the argument that " courts are the

instrumentalities for ensuring that the authority is properly exercised[] and that the courts must

see some proof that these prerequisites were satisfied ," the D.C. Circuit stated that the

" presumption of regularity [was] decisive"on this issue, explaining:

               We deem the familiar presumption of regularity decisive here. It
               "supports the official acts of public officers and, in the absence of
               clear evidence to the contrary, courts presume that they have
               properly discharged their official duties."

               [. . . .]

               Over the many years since Martin v. Mott[, 25 U.S. (12 Wheat.) 19,
               6 L. Ed. 537 (1827)], the presumption of regularity has been applied
               in a variety of contexts, it is clearly applicable to the case at bar. The
               executive order under review cited accurately the statutory source
               of authority therefor, and purported to amend an earlier order that
               indubitably was a proper exercise of that authority. The Act does
               not itself require or even suggest that any finding be reproduced in
               the order. No more than the District Court have appellants
               suggested any actual irregularity in the President s factfinding
               process or activity. In these circumstances, we encounter no
               difficulty in presuming executive regularity. We cannot allow a
               breach of the presumption of regularity by an unwarranted
               assumption that the President was indifferent to the purposes and
               requirements of the Act, or acted deliberately in contravention of
               them.




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Id. at 727-28 (footnote omitted). The court of appeals therefore concluded that" the presumption

of regularity [was] pivotal" to the issue of whether the executive order was a valid exercise of

authority. Id. at 728.

               In the instant case, as in Am. Fed n of Gov t Emps., AFL-CIO v. Reagan, the

President has not provided the justification for excluding each of the agencies and subdivisions

from the FSLMRS pursuant to Section 7103(b)(1) in the Executive Order itself. In light of the

                           Am.
D.C. Circuit's analysis in _ _Fed
                               __ n_
                                   of _
                                      Gov
                                        _t_
                                          Emps.,
                                            ___  AFL-CIO
                                                   _ _ _v.
                                                         _Reagan,
                                                           _ __ the Court therefore

must address the following issues: (1) whether the "presumption of regularity" applies to the

President's exercise of authority; and (2) whether the President's exercise of authority was ultra

vires. The Court addresses each issue separately.


                                   1. Presumption of Regularity

               The "presumption of regularity has been recognized since the early days of the

Republic,"Am. Fed'n of Gov't Emps .. AFL-CIO v. Reagan, 870 F.2d 723, 727 (D.C. Cir. 1989),

and has been applied in a variety of contexts where a governmental official's action has been

challenged. See Aram A. Gavoor & Steven A. Platt, In Search of the Presumption of

Regularity, 74 FLA. L. REV. 729, 749 (2022) (outlining different categories of examples where

the presumption of regularity has been applied). The "presumption of regularity supports the

official acts of public officers, and, in the absence of clear evidence to the contrary, courts

                                                                   United
presume that they have properly discharged their official duties." _ _ _States
                                                                          _ _v._Chemical
                                                                                 _ __

Foundation, Inc., 272 U.S. 1, 14-15 (1926); see Latif v. Obama, 677 F.3d 1175, 1178-181 (D.C.

Cir. 2011) (same); Paracha v. Trump, Civil Action No. 04-2022 (PLF), 2019 WL 5296839, at *2

(D.D.C. Oct. 18, 2019). The presumption of regularity, however, is just that, a presumption.

The presumption can be rebutted with " clear evidence" that the official did not discharge his or



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her official duties properly, see Owlfeather-Gorbey v. Avery, 119 F.4th 78, 86 (D.C. Cir. 2024),

a standard which is " higher than preponderance of the evidence but lower than beyond a

reasonable doubt " Paracha v. Trump, 2019 WL 5296839, at *2 (citing Addington v. Texas, 441

U.S. 418, 423-35 (1979)).

               The Court concludes that NTEU has rebutted the presumption of regularity by

presenting clear evidence that "the President was indifferent to the purposes and requirements of

the [FSLMRS], or acted deliberately in contravention of them ." Am. Fed'n of Gov' t Emps.,

AFL-CIO v. Reagan, 870 F.2d at 728. The Court reaches this conclusion for three reasons:

(1) the Executive Order and the Administration's surrounding statements are at odds with

Congress's findings in the FSLMRS; (2) the White House Fact Sheet reflects retaliatory motive;

and (3) the Administration's guidance related to the Executive Order     specifically, the OPM

Guidance suggests that the invocation of Section 7103(b)(1) was in furtherance of unrelated

policy goals rather than based on the statutory criteria.


     a. The Executive Order is at Odds with the Statute's Purpose and Congress's Findings

               The first reason that NTEU prevails in rebutting the presumption of regularity is

because the scope of the Executive Order itself and the statements in the accompanying Fact

Sheet demonstrate that the President was either "indifferent to" or "acted deliberately in

contravention" of the purposes of the FSLMRS. See Am. Fed'n of Gov' t Emps., AFL-CIO v.

Reagan, 870 F.2d at 728. As discussed above, see supra Section I.A, Congress made explicit

findings when passing the FSLMRS that"the right of employees to organize, bargain

collectively, and participate through labor organizations of their own choosing in decisions

which affect them" "safeguards the public interest," "contributes to the effective conduct of

public business," and"facilitates and encourages the amicable settlements of disputes between



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employees and their employers involving conditions of employment " 5 u.s.c. § 7101(a)(1).

Congress concluded that"labor organizations and collective bargaining in the civil service are in

the public interest
                      ,, 5 U.S.C. § 7101(a).

               The scope of the Executive Order      covering two-thirds of the federal

workforce - and the Fact Sheet's characterization of unions and collective bargaining rights

established by the Civil Service Reform Act as "dangerous" stand in stark contrast to these

Congressional findings. See Fact Sheet. For example, the Fact Sheet acknowledges that

normally "[a]gencies cannot modify policies in collective bargaining agreements until they

expire" and that "[a]gencies cannot make most contractually permissible changes until after

                                   . Fact Sheet at 3. But it finds that the statute "enables
finishing 'midterm' union bargaining"

hostile Federal unions to obstruct agency management ," which is "dangerous in agencies with

national security responsibilities." _Id. at 2-3. Indeed, the OPM Guidance highlights several

examples of the obstacles that collective bargaining agreements have presented to the Trump

Administration in accomplishing its broader policies related to reforming the federal workforce.

See, e.g., OPM Guidance at 5 (citing Guidance on Collective Bargaining in Connection with

Reductions in Force, OPM (Mar. 12, 2025), available at https://www.opm.gov/policy-data-

oversight/latest-and-other-highlighted-memos/guidance-on-collective-bargaining-in-connection-

with-reductions-in-force.pdf [https://perma.cc/ENN2-37YQ])). The description of these

obstacles resulting from collective bargaining as "dangerous," and the characterization of the

                                                                                           ,
Civil Service Reform Act as "enabl[ing] hostile Federal unions to obstruct agency management"

Fact Sheet at 2-3, are directly contrary to Congress's conclusion that such labor policy and labor

organizations are "in the public interest." 5 U.S.C. § 7101(a).




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               To be sure, as the Section 7103(b)(1) exclusion provision highlights, Congress

anticipated that collective bargaining rights may not, in certain cases, be applied in a "a manner

consistent with national security requirements and considerations." 5 U.S.C. § 7103(b)(l) (B).

But the statements in the Fact Sheet must be considered in the context of the breadth of the

Executive Order: the order strips collective bargaining rights from two-thirds of the federal

workforce. See Pl.'s Mem. at 4. In other words, justifying the sweeping Executive Order by

pointing to the "obstruct[ion] to agency management" caused by "hostile Federal unions" is

better understood as a disagreement with Congress's decision to extend collective bargaining

rights to the federal workforce broadly, rather than a determination that such rights cannot be

applied in a "manner consistent with national security requirements and considerations." _See 5

U.S.C. § 7103(b)(1)(B). Indeed, many of the cabinet-level departments that the President has

excluded were not included by Congress in the list of agencies exempted from the FSLMRS 's

coverage. See 5 U.S.C. § 7103(a)(3) (excluding the Government Accountability Office, the

Federal Bureau of Investigation, the Central Intelligence Agency, the National Security Agency,

the Tennessee Valley Authority, the Federal Labor Relations Authority, the Federal Service

Impasses Panel, and the United States Secret Service and the United States Secret Service

Uniformed Division). In sum, there is clearly an inconsistency. Congress determined that

                                                                                                 ,
collective bargaining rights for the majority of the federal workforce was "in the public interest"

yet the Executive Order strips these rights from a majority of the federal workforce. This

certainly provides evidence that the " President was indifferent to the purposes and requirements

of the Act, or acted deliberately in contravention of them " in his invocation of the

Section 7103(b) exclusion. Am. Fed'n of Gov' t Emps., AFL-CIO v. Reagan, 870 F.2d at 728.




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  b. Contemporaneous Statements in the White House Fact Sheet Reflect Retaliatory Motive

               The second reason that NTEU prevails in rebutting the presumption of regularity

by clear evidence is because the White House Fact Sheet reflects retaliatory motive towards

certain unions. For example, the Fact Sheet states that" [c]ertain Federal unions have declared

                                      inter alia,
war on President Trump's agenda," by, ___     _ filing grievances against President Trump and

by stating that they would "'fight[] back' against Trump." Fact Sheet at 3. The Fact Sheet

further states that the Civil Service Reform Act of 1978    of which the FSLMRS is a

part - "enables hostile Federal unions to obstruct agency management," and that the President

" refuses to let union obstruction interfere with his efforts to protect Americans and our national

interests." Fact Sheet at 3. These statements bear no relation to the criteria established by

Congress in Section 7103(b)(1). Rather, the statements reflect President Trump 's frustration

with the unions' representational activity and exercise of their First Amendment rights     such as

through "filing grievances to block Trump policies" - and the impact those activities have had on

his policy directives and "agenda." _See Fact Sheet at 3. Indeed, as NTEU points out, these

statements in the Fact Sheet appear to be in direct response to the number of lawsuits and

grievances NTEU has filed against the Trump Administration in the last several months. See

Compl. ¶ 63.

               Other statements in the Fact Sheet reflect that this frustration with the unions'

"war" on President Trump may have been a significant factor in his issuing the Executive Order.

For example, the Fact Sheet suggests that it is not "the provisions" of the FSLMRS themselves

that"cannot be applied . . . in a manner consistent with national security requirements and

considerations," 5 U.S.C. § 7103(b)(l)(B), but rather the unions' _
                                                                  use_
                                                                     of these provisions, which

President Trump views as "mass obstruction that jeopardizes his ability to manage agencies with




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vital national security missions." Fact Sheet at 3. Indeed, the Fact Sheet's statement that

President Trump "supports constructive partnerships with unions who work with him" but "will

not tolerate mass obstruction that jeopardizes his ability to manage agencies with vital national
                 ,,
security missions comes very close to conceding this point. See id. Furthermore, as NTEU

argues, certain inclusions and exclusions from the Executive Order reflect a preference for

unions that have a "constructive relationship" with the President. For example, the President's

decision to allow"police officers, security guards, [and] firefighters " to retain collective

bargaining rights, but to remove such rights from employees of the Federal Bureau of

Prisons whose employees are represented by a union that has been critical of the President and

his Administration    suggests that the President's relationship with particular unions was a factor

in determining which agencies and subdivisions were included in the Executive Order. Pl.'s

Reply at 7; see Executive Order § 2(b).

               The language used in the Fact Sheet coupled with the focus on" constructive

partnership[ s]" as opposed to "mass obstruction" undercuts the presumption that the President

considered and abided by the statutory language in Section 7103(b)(1). See Am. Fed'n of Gov' t

Emps., AFL-CIO v. Reagan, 870 F.2d at 728. Furthermore, it suggests a retaliatory motive to

punish unions for the "war" they have "declared [] on President Trump's agenda." Fact Sheet

at 3. Such clear evidence of retaliatory motive is "of great significance in addressing the

presumption" of regularity. See Hartman v. Moore, 547 U.S. 250, 263-64 (2006) (concluding

that"prosecutor s disclosure of retaliatory thinking on his part" was significant in determining

whether the presumption of regularity should be applied); -
                                                          see-also
                                                               --  Wendt
                                                                    - - Corp.
                                                                         ---  v.-
                                                                                NLRB,
                                                                                  - - 26
F.4th 1002, 1011 (D.C. Cir. 2022) ("A company s open hostility toward Union activity,




                                                 22
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including a manager s anti-union speech, is clearly sufficient to establish anti-union animus on

the part of that company." ) (cleaned up).


    c. Evidence Reflects that the Executive Order was Motivated by Unrelated Policy Goals

               The final reason that NTEU prevails in rebutting the presumption of regularity is

because substantial evidence in the record reflects that the invocation of Section 7103(b)(1) was

in furtherance of unrelated policy goals rather than based on the statutory criteria. See Pl.'s

Reply at 4-6 (arguing that the Executive Order was motivated by "a desire to make federal

employees easier to fire"). The OPM Guidance strongly supports this point, couching the

Executive Order in the broader "policy of the President and his Administration to eliminate
                                                                                 ,,
waste, bloat, and insularity within agencies and operate them more efficiently. OPM Guidance

at 5. The OPM Guidance goes on to outline the Administration's many policies and directives

related to the federal workforce writ large. For example, the OPM Guidance notes that the

"President issued multiple directives to facilitate the separation of underperforming employees,"

but that "Agency [collective bargaining agreements] often create procedural impediments" to

removing these employees. Id. at 3. The OPM Guidance directs the agencies and subdivisions

covered by the Executive Order to " seek to bring their policies into alignment with the specific

Administration priorities," including limiting performance improvement periods and

discontinuing grievance participation. See id. at 3-4. In a section entitled "Effective and

Efficient Government," the OPM Guidance explains that "after terminating [the agencies']

[collective bargaining agreements]" pursuant to the Executive Order, agencies can proceed to

"[d]isregard contractual [reduction-in-force] articles" and "prepare large-scale reductions in

force" as the "President has directed." Id. at 5 (capitalization omitted).




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               In sum, the OPM Guidance says little about national security, notwithstanding the

national security valence of Section 7103(b)(1). On examination, the OPM Guidance and the

Executive Order appear to be more about accomplishing the Administration's goal of

substantially changing the nature of the federal workforce. The OPM Guidance lists numerous

examples of earlier policy directives by the President and OPM, identifies the difficulties

collective bargaining agreements posed to accomplishing those directives, and states that those

obstacles are now gone as a result of the Executive Order. The framing of the Executive Order

in this way is evidence that the President was at best "indifferent to the purposes and

requirements of the" FSLMRS. Am. Fed'n of Gov' t Emps., AFL-CIO v. Reagan, 870 F.2d

at 728. Indeed, it is strong evidence that the President's invocation of Section 7103(b)(1) was to

remove the barriers created by the FSLMRS to his unrelated policy objectives. See In re Aiken

Cnty., 725 F.3d 255, 259 (D.C. Cir. 2013) (Kavanaugh, J.) ("[T] he President may not decline to

follow a statutory mandate or prohibition simply because of policy objections .").

                                         *       *       *

               For the reasons discussed above, the Court concludes that NTEU has successfully

rebutted the presumption of regularity. The Court therefore need not presume that the President

has"properly discharged [his] official duties" in the absence of justification for the Executive

Order. See United States v. Chemical Foundation, Inc., 272 U.S. at 14-15.


                        2. The President's Executive Order is Ultra Vires

               Having determined that the presumption of regularity does not apply, the issue

now becomes whether NTEU likely will be successful in showing that the Executive Order was

ultra vires.




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                "The President' s authority to act, as with the exercise of any governmental power,

'must stem either from an act of Congress or from the Constitution itselfl,]'" or from a

combination of the two. Medellin v. Texas, 552 U.S. 491, 523 (2008) (quoting Youngstown

Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 585 (1952)). While a party has different bases by

which to challenge Presidential actions that may exceed the scope of the President's power, one

such claim is that the President's action was ultra vires. See Chamber of Com. of U.S. v.

Reich,
_ _ 74 F.3d 1322, 1328 (D.C. Cir. 1996) ("When an executive acts ultra vires, courts are

normally available to reestablish the limits on his authority .")(quoting _
                                                                          Dart
                                                                            _v._United
                                                                                 _ _ States,
                                                                                       __ 848

F.2d 217, 224 (D.C. Cir. 1988)). An ultra vires claim is a" non-statutory form of review [that]

derives from courts' equitable authority to ' reestablish the limits on executive authority [w]hen

an executive acts ____
                  ultra vires. "' Am. Fed'n of Lab. & Cong. oflndus. Organizations v. Dep't of

Lab., Civil Action No. 25-339 (JDB), 2025 WL 1129227, at *22 (D.D.C. Apr. 16, 2025)

(quoting Dart v. United States, 848 F.2d at 224); see Armstrong v. Exceptional Child Ctr., Inc.,

575 U.S. 320, 327 (2015) (Scalia, J.) ("The ability to sue to enjoin unconstitutional actions by

state and federal officers is the creation of courts of equity, and reflects a long history of judicial

review of illegal executive action, tracing back to England ."). This claim, however,"is a

                                                                      Schroer
doctrine oflast resort, 'intended to be of extremely limited scope."' _ _ _ v._Billington,
                                                                               _ _ __ 525 F.

Supp. 2d 58, 65 (D.D.C. 2007) (quoting Griffith v. Fed. Labor Relations Auth., 842 F.2d 487,

493 (D.C. Cir. 1988)).

                In the instant case, the evidence rebutting the presumption of regularity is a

significant reason to believe NTEU will prevail on its claim. The scope of the Executive Order

when compared with the intent of Congress in passing the FSLMRS, coupled with the

surrounding statements in the Fact Sheet and OPM Guidance           which strongly suggest that




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President Trump s invocation of Section 7103(b)(1) was mere pretext for retaliation and for

accomplishing unrelated policy objectives     are persuasive reasons to believe NTEU likely will

be successful on the merits of its claim.

               Ultimately, the success ofNTEU's claim hinges on whether the agencies and

subdivisions subject to the Executive Order meet the statutory criteria set forth in the FSLMRS.

See Opp. at 20. The government provides a meager defense explaining how the agencies and

subdivisions covered by the Executive Order      which include approximately two-thirds of the

federal workforce, see Kaspar Decl. ¶ 35 meet the Section 7103(b)(1) criteria. The

government 's defense consists primarily of statements about the general role of the agencies and

subdivisions, and then listing several examples of offices within the agencies and subdivisions

that may perform work related to national security. Given the breadth of the Executive Order,

however, this approach is wholly inadequate to assess whether each of the agencies and

subdivisions actually falls within the statutory national security exception.

               To remind, Section 7103(b) provides that:

               The President may issue an order excluding any agency or
               subdivision thereof from coverage under this chapter if the President
               determines that

                       (A) the agency or subdivision has as a primary function
                       intelligence, counterintelligence, investigative, or national
                       security work, and

                       (B) the provisions of this chapter cannot be applied to that
                       agency or subdivision in a manner consistent with national
                       security requirements and considerations.




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5 U.S.C. § 7103(b)(1). The government's interpretation of Section 7103(b)(1) hinges on whether

each agency and subdivision cited has a "primary function" of "national security work." 4

               With regard to Section 7103(b)(1)(A), the government asserts that "[t]he statute's

first three categories of primary functions" - that is, "intelligence, counterintelligence, [and]

investigative" work- "require no further explanation." Opp. at 20. As for the term "national

security work," the government argues that it "has long and consistently been interpreted in the

federal labor relations context to refer to work 'directly related to protection and preservation of

the military, economic, and productive strength of the United States."' _Id. (quoting Dep't of

Energy, Oak Ridge Operations, & Nat'l Ass'n of Gov't Emps. Local R5 -181, 4 F.L.R.A. 644,

655-56 (1980)).

               As for Section 7103(b)(1)(B), the government essentially argues that any agency

or subdivision that "has a significant, critical national security mission" necessarily will satisfy

the criteria in Section 7103(b)(1)(B). Opp. at 26. The government contends that because it has

shown that "each Defendant agency or subdivision has a significant, critical national security

mission," Section 7103(b)(1)(B) is satisfied. Id.



       4
                  The government suggests at several points in its opposition that a few of the
agencies and subdivisions satisfy the Section 7103(b)(1) criteria by nature of performing
"intelligence, counterintelligence, [or] investigative" work. _See, _e.g., Opp. at 23 (arguing Food
and Drug Administration has an "investigative function") ; _id. at 24 (arguing that the Department
of Justice "performs investigative, intelligence, and national security work") . The terms
"intelligence, counterintelligence, [and] investigative" work likely should be interpreted as
having a national security valence in light of Section 7103(b)(1) as a whole. See Soc. Sec.
Admin. Baltimore, Maryland (Agency) & Am. Fed'n of Gov't Emps. (Petitionerllabor Org.), 59
F.L.R.A. at 143 (" Congress also addressed the matter of national security in § 7103(b) of the
Statute." ). This issue, however, need not be addressed here because the government undoubtably
relies on "each Defendant agenc[ies'] or subdivision[s'] . . . significant, critical national security
mission" in arguing that the Section 7103(b)(1 )(2) criteria has been satisfied. See Opp. at 26; see
also_
_    id . at 2 ("[T]he Court lacks authority to review the President's national security
determination, as Congress expressly recognized"). The government's success therefore depends
on the validity of its interpretation of work implicating "national security."


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               The President's determination appears to apply an overly broad interpretation of

both the term "primary function" and the term "national security work." The Court therefore

concludes that NTEU is likely to succeed on its claim.


                                      a. "Primary Function"

               While the government never explicitly states how it interprets "primary function,
                                                                                                   ,,

its arguments related to each of the agencies and subdivisions reflect either an overly broad

interpretation of the term or a disregard of the term entirely. The government's arguments

related to each of the agencies and subdivisions illustrate this point by either pointing to

generalized mission statements of the agencies referencing national security, or by pointing to

individual functions that segments of the agencies or subdivisions perform that have a national

security valence, and then concluding that the entire
                                               _ _ agencies' or subdivisions' "primary

function" is national security.

               For example, the government argues that the Department of the Treasury is

primarily engaged in "national security work" because it "exists to promote economic and

productive strength of the United States - a core national security mission." Opp. at 20. A s to

the Internal Revenue Service within the Department of the Treasury, the government argues that

it primarily performs "national security work" because it "collect[s] almost all Federal

revenues," of which "America's military, economic, and productive capacity directly

depend . . . ." Opp. at 21. In terms of the Department of Energy ("DOE"), the government

argues that the department's "primary role is setting national energy policy, with obvious

national security objectives and implications." _Id. The government points to certain examples of

this, such as the DOE's role in the "security of the U.S. nuclear weapons stockpile" and in the

creation of "affordable and reliable domestic supply of energy," which "' is a fundamental



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requirement for the national and economic security of any nation "' Id. (quoting Exec. Order

No. 14156, 90 Fed. Reg. 8,433 (Jan. 20, 2025)).5 With respect to the Food and Drug

Administration, the government maintains that it ensures "a secure food supply," which is

"critical to national security." _Id. at 23. As for the Bureau of Land Management, the

government argues that its "overseeing of energy production" on public land and its " funding

[of] the Federal Government's operations through mineral development" makes it critical to

national security. Id. at 22.

               NTEU responds that these examples demonstrate that the government "reads

'primary' entirely out of the text, as they reference any function that an agency at issue

performs .... " Pl.'s Reply at 10-11. The Court agrees. The government's approach is

essentially pointing to a specific function that a particular agency or subdivision performs, and

then arguing that the instance of "national security work" means the entire agency's or its

subdivision's "primary function" is "national security work." But even if an agency performs

some work that implicates national security, that does not mean that the entire agency has "a

primary function"of "national security work." 5 U.S.C. § 7103(b)(1)(A). In sum, because the

government's arguments make clear that the President applied an overly broad interpretation of

the term "primary function" or wrote the term out of the statute entirely, the Court concludes that

NTEU likely will succeed on its claim.




       5
              The government notes that the DOE was created by the "same Congress that
enacted the FSLMRS," failing to explain why that Congress did not include the DOE in its list of
agencies excluded from the protections in the FSLMRS. See 5 U.S.C. § 7103(a)(3).


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                       b. "National Security" and ''National Security Work"

                The government's interpretation of "national security" and "national security

work" is also overly broad. See 5 U.S.C. § 7103(b)(1)(A)-(B). The government interprets

"national security work" as work "directly related to protection and preservation of the military,
                                                          ,,
economic, and productive strength of the United States. See Opp. at 20 (citation omitted). As

illustrated above, the government contends that this definition encompasses everything from the

collection of taxes to the management of the United States' s food supply and distribution.

                The government's single citation for its expansive interpretation of "national

security work" is to the FLRA's decision in Dep't of Energy, Oak Ridge Operations, & Nat'l

Ass'n of Gov't Emps. Local R5 -181, 4 F.L.R.A. 644, 655-56 (1980). See Opp. at 20. But that

case is significantly less supportive of the government's position than it may think. Indeed, in

that case, the FLRA cautioned against applying an overly broad interpretation of "national

security," stating in relevant part:

                A complex legal framework surrounds 'national security' in the
                context of Government employment. See, e.g., 5 U.S.C. § 7532;
                Executive Order 10450; FPM Chapter 732-3, subchapter 1.
                Exclusion from an appropriate unit deprives employees of the
                opportunity under the Statute to determine whether or not they wish
                to be represented by a labor organization and of the opportunity to
                engage in collective bargaining with respect to conditions of
                employment through labor organizations. Labor organizations and
                collective bargaining in the civil service have been determined by
                the Congress to be 'in the public interest.' 5 U.S.C. § 7101(a).
                Therefore, the term 'national security' must be interpreted to include
                only those sensitive activities of the government that are directly
                related to the protection and preservation of the military, economic,
                and productive strength of the United States, including the security
                of the Government in domestic and foreign affairs, against or from
                espionage, sabotage, subversion, foreign aggression, and any other
                illegal acts which adversely affect the national defense. See Cole v.
                Young, 76 S. Ct. 861, 351 U.S. 536 (1956); FPM Chapter 732-3,
                subchapter 1, paragraph 1.1; 32 C.F.R. § 156.5.




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Dep't of Energy, Oak Ridge Operations, & Nat'l Ass'n of Gov't Emps. Local R5 -181, 4

F.L.R.A. at 655-56. The FLRA' s reasoning in the Oak Ridge case makes clear that the Supreme

                    Cole
Court's decision in - -v.-Young,
                           - - 351 U.S. 536 (1956), provided guidance on the interpretation
of "national security" in Section 7103(b)(1 ). On this point, NTEU agrees, arguing that Cole v.

Young 's definition of "national security" "should govern here." Pl.'s Reply at 9.
___

               In Cole v. Young, the Supreme Court addressed "the meaning of the term

'national security' as used in" a statute enacted in 1950, which gave "the heads of certain

departments and agencies of the Government summary suspension and unreviewable dismissal

powers over their civilian employees, when deemed necessary 'in the interest of the national
                                 ,,,
security of the United States.         See Cole v. Young, 351 U.S. at 538. The Supreme Court

concluded that while the term "national security" was not defined in the law, it was"clear from

the statute as a whole that that term was intended to comprehend only those activities of the

Government that are directly concerned with the protection of the Nation from internal

subversion or foreign aggression, and not those which contribute to the strength of the Nation
                                                 ,,
only through their impact on the general welfare. Id. at 544. The Supreme Court found that the

law reflected " Congress concern for the procedural rights of employees and its desire to limit

the unreviewable dismissal power to the minimum scope necessary to the purpose of protecting

activities affected with the 'national security."' _Id. at 547. This intent "hardly seem[ed]

consistent" with the "indefinite and virtually unlimited meaning" of "national security" asserted

by the government. Id. The government's interpretation had to be rejected. After all, the

Supreme Court reasoned, the statute 's requirement that the President determine that an

"employee's misconduct would affect the 'national security"' would not be necessary "if

'national security ' were used in the Act in a sense so broad as to be involved in all activities of




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the Government, for then the relationship to the 'national security' would follow from the very

fact of employment." Id. at 542-43. The Court concluded with a cautionary statement about the

ability for national security determinations to supersede law:

               [I]f Congress intended the term to have such a broad meaning that
               all positions in the Government could be said to be affected with the
               'national security,' the result would be that the 1950 Act, though in
               form but an exception to the general personnel laws, could be
               utilized effectively to supersede those laws. For why could it not be
               said that national security in that sense requires not merely loyal and
               trustworthy employees but also those that are industrious and
               efficient? The relationship of the job to the national security being
               the same, its demonstrated inadequate performance because of
               inefficiency or incompetence would seem to present a surer threat
               to national security, in the sense of the general welfare, than a mere
               doubt as to the employee s loyalty.

Cole v. Young, 351 U.S. at 547-48.

               Appling the reasoning of Cole v. Young to this case, this Court must conclude

that the President's interpretation of "national security" exceeds the scope of the meaning

intended by Congress. In passing the FSLMRS, Congress clearly expressed a desire to extend

collective bargaining rights broadly because it determined that those rights were "in the public

interest." 5 U.S.C. § 7101(a) ("[L]abor organizations and collective bargaining in the civil

service are in the public interest"). Congress provided a narrow exception that allowed the

President to exclude agencies and subdivisions from these protections if the provisions of the law

"cannot be applied . . . in a manner consistent with national security requirements and

considerations." 5 U.S.C. § 7101(b)(1)(B). And as in Cole v. Young, it is " clear from the

statute" that the term "national security" " comprehend[s] only those activities . . . that are

directly concerned with the protection of the Nation from internal subversion or foreign

       . .... " Cole v. Young, 351 U.S. at 544. But President Trump instead has applied a
aggress10n

startlingly broad application of "national security," which- directly contrary to the Supreme



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Court's definition in Cole v. Young    encompasses "those activities of Government . . . which

contribute to the strength of the Nation only through their impact on the general welfare " Cole

v. Young, 351 U.S. at 544. This interpretation of "national security" therefore is inconsistent

with the statute and "risks allowing the exception to swallow the rule, thereby undermining the

                                               n of
purpose of the statute itself." N_a_t'_l_F_ed_'_ _Fed.
                                                    _ _Emps.
                                                        ___  v. McDonald,
                                                                _ _ __ 128 F. Supp. 3d 159, 172

(D.D.C. 2015). " [I]f Congress intended the term to have such a broad meaning that all positions

in the Government could be said to be affected with the 'national security,' the result would be

that the [FSLMRS], though in form but an exception to the general personnel laws, could be

utilized effectively to supersede those laws." Cole v. Young, 351 U.S. at 548.

               In sum, NTEU is likely to prevail in showing that the President has applied an

overly broad interpretation of "national security" when invoking Section 7103(b)(l), thereby

                                       ultra vires.
making the President's Executive Order ___     _

                                          *      *       *

               In light of its analysis above, the Court concludes that NTEU is likely to succeed

on its claim that the Executive Order is ultra vires. This conclusion is reached in light of the

evidence rebutting the "presumption of regularity" and the interpretation of Section 7103(b)(1). 6


                                       C. Irreparable Harm

               The next factor to consider is whether NTEU will suffer irreparable injury without

the requested preliminary injunction. See Archdiocese of Washington v. Wash. Metro. Area

Transit Auth., 897 F.3d at 321. The D.C. Circuit "has set a high standard for irreparable injury."



       6
              Because the Court concludes that NTEU is likely to succeed on its ultra vires
claims, see Compl. ¶¶ 78-89 (Counts One and Two), the Court does not reach the issue of
whether NTEU has satisfied the requirements for a preliminary injunction on its First
Amendment retaliation claim.


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Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290, 297 (D.C. Cir. 2006). "Not only

must the injury 'be both certain and great,' and' actual and not theoretical, 'but 'the injury must

                         Brennan
be beyond remediation."' _ ___   Ctr.
                                   _for
                                      _Just.
                                        _ _at_NYU
                                               _ _Sch.
                                                   __  of_
                                                         L. _
                                                            v. _
                                                               Dep
                                                                 _t_
                                                                   of _
                                                                      Com.,
                                                                        _ 498 F.

Supp. 3d 87, 101 (D.D.C. 2020) (quoting Chaplaincy of Full Gospel Churches v. England, 454

F.3d at 297). Importantly, "obstacles [that] unquestionably make it more difficult for the

[plaintiff] to accomplish [its] primary mission . . . provide injury for purposes . . . [of

                                 League
establishing] irreparable harm." _ _ _of_Women
                                         _ _ _Voters
                                               ___   v. Newby,
                                                        _ __ 838 F.3d at 9.

                NTEU advances two primary bases by which it argues it will face irreparable

harm absent a preliminary injunction. First, it argues that the Executive Order significantly

reduces its bargaining power by "cut[ting] the number ofNTEU-represented employees by

over 65%." Pl.'s Mem. 32; _see Declaration of Mark L. Gray ("Gray Deel.") [Dkt. No. 9-3] ¶ 6;

Kaspar Decl. ¶ 9. Second, it argues that it faces "severe financial harm" caused by the loss of

dues revenue. See Pl s Mem. at 30-32. More specifically, NTEU states that it will lose

approximately $25 million in dues revenue over the course of the next year, or approximately

half of its annual revenue. See id. at 31; Kaspar Decl. ¶ 17; Gray Decl. ¶ 12.

                The Court concludes that each of the injuries are sufficient to show that NTEU

will face irreparable harm absent a preliminary injunction.


                                    1. Loss of Bargaining Power

                NTEU contends that its loss of bargaining power is both significant and

irreparable. See Pl .'s Mem. at 32-33. According to NTEU, the Executive Order covers 65.9% of

all NTEU-represented employees, or approximately 104,278 employees. Kaspar Decl. ¶ 9.

NTEU argues that it will become "a less effective, less influential organization in ways that

cannot be undone" as a result of the Executive Order, Pl.'s Mem. at 33, which removes both



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agencies' obligation to collectively bargain and NTEU' s status as the exclusive bargaining

representative of the agencies' employees. See OPM Guidance at 3. More specifically, NTEU

asserts that as a result of this reduction in representation, it will be less effective at (1) advocating

for employees at agencies not covered by the Executive Order; (2) persuading employees to join

the union; and (3) advocating for employees' interests before Congress. _See Kaspar Decl.

¶¶ 11-14. NTEU argues that these injuries have already begun to occur. _See Pl.' s Reply

at 20-23. For example, NTEU states that certain agencies have already failed to honor

provisions of the respective collective bargaining agreements by failing to withhold dues

payment from employees' paychecks, Kaspar Supp. Deel. ¶¶ 12-14, "disavow[ing] any

                      id. ¶¶ 17-18, and beginning to implement reductions in force. See id.
obligation to bargain,"_

¶ 16.

                Courts have long recognized that"the unlawful refusal of an employer to bargain

collectively with its employees chosen representatives disrupts the employees morale, deters

their organizational activities, and discourages their membership in unions " Franks Bros. Co. v.

NLRB, 321 U.S. 702, 704 (1944). "The deprivation to employees from the delay in bargaining

and the diminution of union support is immeasurable " N.L.R.B. v. Electro-Voice, Inc., 83

F.3d 1559, 1573 (7th Cir. 1996). Furthermore, " [a]s time passes, the benefits of unionization are

lost and the spark to organize is extinguished " Id.; see Int l Union of Elec., Radio & Mach.

Workers, AFL-CIO v. NLRB, 426 F.2d 1243, 1249 (D.C. Cir. 1970) ("Employee interest in a

union can wane quickly as working conditions remain apparently unaffected by the union or

collective bargaining."). Therefore, any relief a court may provide "must come quickly ." __
                                                                                          In re

Am. Fed'n of Gov' t Emps., AFL-CIO, 790 F.2d 116, 117-18 (D.C. Cir. 1986) (citation and

quotation marks omitted).




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               These concerns are heightened in the instant case given the Trump

Administration's directive "to prepare large-scale reductions in force." OPM Guidance at 5.

Should NTEU not obtain a preliminary injunction, there is a substantial possibility that only a

small fraction of its once large union would remain upon prevailing in this litigation. And, as

NTEU argues, see Kaspar Decl. ¶¶ 11-14, the loss of representation and status as an exclusively

recognized labor organization creates "obstacles [that] make it more difficult for the [plaintiff] to

accomplish [its] primary mission." See League of Women Voters v. Newby, 838 F.3d at 9. This

in itself constitutes irreparable harm. See id.; Garcia v. Sacramento Coca-Cola Bottling Co., 733

F. Supp. 2d 1201, 1216 (E.D. Cal. 2010) ("[C] ourts have historically held that withdrawal of

union recognition is often irreparable .") (collecting cases); Nat'l Council of Nonprofits v. Off. of

Mgmt. & Budget, Civil Action No. 25-239 (LLA), 2025 WL 368852, at *12 (D.D.C. Feb. 3,

2025).

               The government's arguments to the contrary are unavailing. First, the

government argues that NTEU' s concern over losing bargaining power and members is

"speculative" because " no defendant agency has yet taken action to terminate a [collective

bargaining agreement] or to remove individuals covered by Executive Order 14,251 from

bargaining units ." Opp. at 10. In support, the government points to an April 8, 2025

memorandum from the Chief Human Capital Officers Council that states that "[a] gencies should

not terminate any collective bargaining agreements . . . until the conclusion of litigation or

further guidance from OPM directing such termination." Opp. at 6.

               The guidance in the memorandum can provide little solace to plaintiff, and no real

support for the government's argument that NTEU's injury is "speculative." The April 8

memorandum itself indicates that collective bargaining agreements may be terminated based on




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"guidance from OPM directing such termination." _See Opp. at 6 (quoting Declaration of Allen

R. Brooks [Dkt. No. 26-1] ¶ 6). And OPM has already made clear that agencies and subdivisions

" are no longer subject to the collective-bargaining requirements" of the FSLMRS. OPM

Guidance at 3 (emphasis added). In other words, notwithstanding the lack of the formal

cancellation of the collective bargaining agreements, the agencies and subdivisions have been

instructed that the protections in the FSLMRS are no longer operative. Moreover, NTEU has

stated that agencies and subdivisions have already begun disregarding provisions of the

collective bargaining agreements in line with the OPM Guidance. See Kaspar Supp. Decl.

¶¶ 12-25. The government's argument that NTEU's injury is "speculative" therefore must be

rejected for the simple reason that it has already begun to materialize. _See Pl.' s Reply at 21

(stating that "[b]efore and after" the April 8 memorandum, " agencies have refused to meet with

NTEU, to bargain with NTEU, or to honor contractual obligations .... "). 7

               Second, the government argues that there is "no reason why losing current NTEU

members while this litigation is pending could not be remedied by a favorable judicial ruling in

this case restoring its scope of representation " Opp. at 10-11. This argument fails for two

reasons. First, the argument ignores the injuries that NTEU will suffer in the interim given that

"[e] mployee interest in a union can wane quickly as working conditions remain apparently

unaffected by the union or collective bargaining." Int'l Union ofElec., Radio & Machine

Workers, AFL-CIO v. NLRB, 426 F.2d at 1249. Put differently, the period of time when union

representation is suspended will have lasting and irreparable effects on employees' interest and



       7
                The government also asserts that "[e]ven if agencies did remove NTEU members
from bargaining units, those employees could remain members ofNTEU .... " Opp. at 10. This
argument is left unexplained, and it does not address the fact that NTEU would be significantly
obstructed in representing its members if the agencies terminate their collective bargaining
agreements and refuse to bargain with their employees.


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participation in the union. Second, the President's directive "to prepare large-scale reductions in

force" outlined in the OPM Guidance         which the IRS has already appeared to begin to follow

through on, see Kaspar Supp. Decl. ¶ 16       creates the serious concern that NTEU's bargaining

power garnered through the size of its membership base will either be forever diminished or will

take a great deal of time to restore. See N.L.R.B. v. Electro-Voice, Inc., 83 F.3d at 1573 ("As

time passes, the benefits of unionization are lost and the spark to organize is extinguished " ).

                In light of the injuries to NTEU's bargaining power that are likely to occur- and

indeed have already begun to occur - and the "obstacles" that the loss of bargaining power

creates for it to "accomplish [its] primary mission" of representing its members, the Court

concludes that NTEU will face irreparable harm absent a preliminary injunction. See League of

Women Voters v. Newby, 838 F.3d at 9; see Garcia v. Sacramento Coca-Cola Bottling Co., 733

F. Supp. 2d at 1216 ("[C] ourts have historically held that withdrawal of union recognition is

often irreparable .") (collecting cases).


                                            2. Union Dues

                "While ordinary economic injuries are usually insufficient to require injunctive

relief, financial harm can 'constitute irreparable harm . . . where the loss threatens the very

existence of the "' movant' s operations. Climate United Fund v. Citibank, N.A., Civil Action

No. 25-0698 (TSC), 2025 WL 842360, at *10 (D.D.C. Mar. 18, 2025) (quoting Wis. Gas Co. v.

FERC, 758 F.2d 669, 674 (D.C. Cir. 1985)) . NTEU' s declarations clearly reflect that the

financial harm from the loss of dues revenue "threatens NTEU's very existence." Kaspar Decl.

¶ 18; see Gray Decl. ¶ 13 ("The immediate, drastic decrease in income from lost payroll

deductions will jeopardize NTEU's very existence."). NTEU's Director of Field Operations,

Daniel Kaspar, asserts that absent preliminary relief, NTEU will lose approximately $25 million



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dollars in revenue over the next year, which is "more than half ofNTEU's total revenue stream."

Kaspar Decl. ¶ 17; see Gray Decl. ¶ 12. He further states that this injury is imminent, as certain

agencies subject to the Executive Order have already begun to stop automatic deductions from

union members paychecks. Kaspar Decl. ¶¶ 20-21. Indeed, as of the filing of its reply

memorandum on April 16, 2025, NTEU has already lost $2 million in dues revenue. Kaspar

Supp. Decl. ¶¶ 13-14.

               The government does not meaningfully dispute that the severity of the financial

loss threatens the very existence ofNTEU's operations, though it briefly mentions the general

rule that "economic loss does not, in and of itself, constitute irreparable harm." Opp. at 9

(quoting Nat l Min. Ass n v. Jackson, 768 F. Supp. 2d 34, 50 (D.D.C. 2011). Instead, the

government first argues that the financial injury is speculative because "[u]nion members remain

free to pay their dues directly to the union" notwithstanding an agency's decision to discontinue

automatic deductions from the member s' paychecks. Opp. at 9. This argument is brief and

unexplained. As NTEU correctly notes, it has already started losing significant dues revenue,

and the Executive Order takes "away the basic reason that NTEU members pay dues: to support

their exclusive bargaining representative . . . ." Pl.'s Reply at 21; see Kaspar Decl. ¶¶ 22-24

(stating that "NTEU will be of less value to employees ... if it can no longer participate in" any

grievance procedure or collective bargaining). Moreover, as NTEU points out, it is not clear

how NTEU would collect dues since some of the defendants have "taken away the very

apparatus" created by Congress for collecting the dues payments. Pl.' s Reply at 21; _see 5 U.S.C.

§ 7115.

               The government next argues that NTEU can recover the lost dues revenue at a

later date through the FSLMRS 's administrative review procedures, since the FLRA "routinely




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orders agencies to reinstate the dues allotments of individuals in the unit whose allotments were

unlawfully terminated      " Opp. at 10. This argument is unpersuasive for at least two reasons.

First, while NTEU may be able to recover dues that it has immediately lost as a result of the

Executive Order, this cannot account for the reduction in dues moving forward. Such a

reduction inevitably will result from a decrease in membership, either as a product of the

agencies following through on the President's directive to implement reductions in force, or

through "discourage[ment]" in union membership that results from " the unlawful refusal of an

                                                                                   Franks
employer to bargain collectively with its employees' chosen representatives .... " _ _ _Bros.
                                                                                          __

Co. v. NLRB, 321 U.S. at 704. Second, even if some dues are eventually recovered later, the

government ignores the fact that the significant loss NTEU will suffer over the next

year approximately half of its revenue - "will jeopardize NTEU's very existence"
                                                                              . Gray Decl.

¶ 13. In the meantime, the loss of revenue creates a serious obstacle for NTEU to " accomplish

[its] primary mission" of representing its members. League of Women Voters v. Newby, 838

F.3d at 9; see Wilmer Cutler Pickering Hale & Dorr LLP v. Exec. Off. of the President, Civil

Action No. 25-0917 (RJL), 2025 WL 946979, at *1 (D.D.C. Mar. 28, 2025) ("While economic

loss does not always warrant a TRO, this is not a typical situation because plaintiff faces more

than economic harm it faces crippling losses and its very survival is at stake. ").

                                         *       *       *

               In sum, NTEU' s loss of bargaining power and the significant financial harm to the

union that is both ongoing and can be expected to continue represent irreparable harm warranting

preliminary relief.




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                                  D. Equities and Public Interest

               The remaining preliminary injunction factors      the balance of the equities and

assessment of the public interest weigh in NTEU's favor. These factors "merge when, as here,

                                        Singh
the Government is the opposing party."' _  __ v. _
                                                 Berger,
                                                   __ 56 F.4th 88, 107 (D.C. Cir. 2022)

(quoting Karem v. Trump, 960 F.3d 656, 668 (D.C. Cir. 2020)).

               NTEU makes two arguments that a preliminary injunction is in the public interest.

First, NTEU argues that a preliminary injunction will maintain the status quo that has existed for

decades, in which a large portion of the federal workforce possessed collective bargaining rights.

See Pl.'s Mem. at 35. Second, NTEU asserts that a preliminary injunction is in the public

interest because "[t]he public has an interest in ensuring that the laws enacted by their

representatives are not imperiled by executive fiat." Pl.'s Reply at 23 (citation omitted).

               The Court agrees with both propositions. Congress unequivocally identified

collective bargaining rights and federal unions as being "in the public interest." _See 5 U.S.C.

§ 7101(a). Pursuant to this finding, Congress determined that large portions of the federal

workforce should have the right to collectively bargain and be represented by federal unions.

This was the state of the federal workforce for decades. The Executive Order dramatically

changes this, excluding two-thirds of the federal workforce from the FSLMRS. The scope of the

Executive Order, contemporaneous evidence surrounding the Executive Order, and the

government's defense of the Executive Order in this case raise serious concerns about whether

the President has exceeded his power. See Karem v. Trump, 960 F.3d 656, 668 (D.C. Cir. 2020)

                                                                                        TikTok
("[E]nforcement of an unconstitutional law is always contrary to the public interest"); _  __

Inc. v. Trump, 490 F. Supp. 3d 73, 85 (D.D.C. 2020) ("[T] he government cannot suffer harm

from an injunction that merely ends an unlawful practice or reads a statute as required. ''')




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(quoting R.I.L-R v. Johnson, 80 F. Supp. 3d 164, 191 (D.D.C. 2015)); -
                                                                     see-also
                                                                           -- League
                                                                                ---  of

Women Voters v. Newby, 838 F.3d at 12 (holding that while "[t]here is generally no public

interest in the perpetuation of unlawful agency action," "there is a substantial public interest 'in

having governmental agencies abide by the federal laws that govern their existence and

operation"') (quoting Washington v. Reno, 35 F.3d 1093, 1103 (6th Cir. 1994)); Grace v.

Whitaker, Civil Action No. 18-1853 (EGS), 2019 WL 329572, at *5 (D.D.C. Jan. 25, 2019)

("[T]here is a public interest ... in ensuring that statutes enacted by their representatives are not

imperiled by executive fiat .") (citation omitted) (cleaned up) .

               The government's argument that the public interest will be harmed if the Court

issues a preliminary injunction is unavailing. The thrust of the government's argument is that it

is in the public interest to ensure that the President can effectively operate "agencies relevant to

national security without the constraints of collective bargaining ," and that a preliminary

injunction would "displace and frustrate the President's decision about how to best address

issues of national security." Opp. at 34. These arguments, however, presuppose that the

President's decisions are in fact "national security" determinations , rather than a recasting of

decisions related to "the general welfare" as "national security" determinations. See Cole v.

Young, 351 U.S. at 544. For the reasons discussed at length above, the President's assertion of

"national security" interests is overly broad in this case.

               The Court therefore concludes that the balance of the equities and assessment of

the public interest weigh in favor of granting a preliminary injunction. Indeed, each of the

preliminary injunction factors weighs in favor of granting NTEU's motion.




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                 IV. SECURITY AND SCOPE OF PRELIMINARY INJUNCTION

               The final two matters the Court must address were raised for the first time by the

government at oral argument. First, the government requests that the Court impose a bond

pursuant to Rule 65(c) of the Federal Rules of Civil Procedure. See Tr. at 52:8-11. Second, the

government argues that in the event that the Court grants NTEU' s motion, it should exempt

agencies or subdivisions from the preliminary injunction order that meet the criteria in

Section 7103(b)(1). See id. at 51:6-13.

               Turning first to the request for a bond, the Federal Rules of Civil Procedure

provide that the Court may grant a motion for a preliminary injunction "only if the movant gives

security in an amount that the court considers proper to pay the costs and damages sustained by

any party found to have been wrongfully enjoined or restrained." FED. R. CIV. P. 65(c).

Nevertheless, "[c]ourts in this Circuit have found the Rule 'vest[ s] broad discretion in the district

court to determine the appropriate amount of an injunction bond,' including the discretion to

                         Simms
require no bond at all." _ _ _v._District
                                  _ _ _of_Columbia,
                                           _ __ 872 F. Supp. 2d 90, 107 (D.D.C. 2012)

(citation omitted) (second alteration in original) (quoting DSE, Inc. v. United States, 169 F.3d

21, 33 (D.C. Cir. 1999)); see Bailey v. Fed. Bureau of Prisons, Civil Action No. 24-1219 (PLF),

2024 WL 3219207, at *13 n.5 (D.D.C. June 28, 2024). " A bond is not necessary where

requiring [one] would have the effect of denying the plaintiffs their right to judicial review of

administrative action. '" Nat'l Council ofNonprofits v. Off. of Mgmt. & Budget, Civil Action

No. 25-0239 (LLA), 2025 WL 597959, at *19 (D.D.C. Feb. 25, 2025) (quoting Nat. Res. Def.

Council, Inc. v. Morton, 337 F. Supp. 167, 168 (D.D.C. 1971) (collecting cases)).

               At oral argument, the government requested that NTEU be required to post a bond

because the government will suffer financial harm from a preliminary injunction as a result of




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needing to pay certain expenses for employees to engage in union activity. See Tr.

at 52:18-53:4. The court exercises its discretion to decline this request. See Aviel v. Gor, Civil

Action No. 25-0778 (LLA), 2025 WL 1009035, at *12 (D.D.C. Apr. 4, 2025). As the Court's

analysis of this motion illustrates, NTEU has made a substantial showing that the Executive

Order is of unprecedented scope, deprives federal employees and the federal unions of rights that

Congress found to be in the public interest, and poses an existential risk to NTEU. Requiring the

posting of a bond would conflict with both the Court's findings that each of the preliminary

injunction factors weigh heavily in NTEU' s favor and the principles of the right to seek judicial

review of unlawful government action. See Aviel v. Gor, 2025 WL 1009035, at *12 n.7

("Setting a bond would conflict with every holding in this opinion and contravene the interests of

justice."); -
            see-
               also
                 - League
                    - - -of-United
                             ---   Latin
                                     --  Am.
                                          -Citizens
                                             - - -v.-Exec.
                                                      - -Off.
                                                           -- of-
                                                                the-President,
                                                                     - - - Civil

Action No. 25-0946 (CKK), 2025 WL 1187730, at *62 (D.D.C. Apr. 24, 2025) (collecting recent

cases denying government's request to " post any bond as a condition of obtaining an injunction

against agencies or officers of the federal government").

               Turning next to the scope of the preliminary injunction, "[C] rafting a preliminary

injunction is an exercise of discretion and judgment, often dependent as much on the equities of

a given case as the substance of the legal issues it presents." Trump v. Int'l Refugee Assistance

Project, 582 U.S. 571, 579 (2017). In the instant case, the government's request that the Court

exempt from its preliminary injunction agencies and subdivisions that meet the requirements of

Section 7103(b)(1) must be rejected. NTEU has challenged Section 2 of the Executive Order in

its entirety and the government has defended the Executive Order in its entirety. The Court has

concluded that the preliminary injunction factors all weigh heavily in favor of granting

preliminary relief. Specifically, the Court has found that NTEU is likely to succeed in showing




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that the President applied an overly broad interpretation of "national security," seemingly

disregarded the statutory term "primary function," and- as the evidence rebutting the

presumption of regularity suggests   " was indifferent to the purposes and requirements of the

[FSLMRS], or acted deliberately in contravention of them " See Am. Fed n of Gov t Emps.,

AFL-CIO v. Reagan, 870 F.2d at 728. These conclusions all speak to the fact that Section 2 of

the Executive Order is entirely ultra vires. Furthermore, those conclusions, coupled with a

preliminary injunction's purpose of"preserv[ing] the status quo while the district court assesses

the merits of a case," Nat'l Treasury Emps. Union v. Vought, Civil Action No. 25-0381 (ABJ),

2025 WL 1144646, at *4 (D.D.C. Apr. 18, 2025), warrant enjoining Section 2 of the Executive

Order in its entirety.

                Moreover, the government's arguments do not warrant specific agency or

subdivision exemptions in the preliminary injunction order. The government has not shown that

any particular agency or subdivision meets the Section 7103(b)(1) criteria. The meager seven

pages explaining how two-thirds of the federal workforce meets the Section 7103(b)(1) criteria,

coupled with the limited factual record now before the Court, does not afford the Court the

opportunity to determine the exemptions at this time. The government has not provided

sufficient argument or factual support warranting specific exemptions from the preliminary

injunction order.




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                                      V. CONCLUSION

               For the foregoing reasons, NTEU's Motion for a Preliminary Injunction [Dkt.

 No. 9] is hereby GRANTED.

               An Order consistent with this Opinion was issued on April 25, 2025. See Order

 of April 25, 2025 [Dkt. No. 32].

               SO ORDERED.
                                                          ~/~,_,,
                                                          PAULL . FR I ~
                                                          United States District Judge




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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


                                              )
                                              )
 NATIONAL TREASURY EMPLOYEES                  )
 UNION,                                       )
                                              )
                 Plaintiff,                   )
                                              )
         ~                                    )       Civil Action No. 25-0935 (PLF)
                                              )
 DONALD J. TRUMP, et al.,                     )
                                              )
                 Defendants.                  )



                                              ORDER

                 Upon consideration of Plaintiff's Motion for a Preliminary Injunction [Dkt.

 No. 9], it is hereby

                 ORDERED that Plaintiff's Motion for a Preliminary Injunction (Dkt. No. 9] is

 GRANTED; it is

                 FURTHER ORDER that Section 2 of the Executive Order, Exclusions from

 Federal Labor-Management Relations Programs (Mar. 27, 2025), is unlawful as applied to the

 Defendants who are heads of agencies with employees represented by the Plaintiff; it is

                 FURTHER ORDER that the Office of Personnel Management's Guidance on

 Executive Order Exclusions from Federal Labor-Management Programs (Mar. 27, 2025) ("OPM

 Guidance"), on the Executive Order is unlawful as applied to the Defendants who are heads of

 agencies with employees represented by the Plaintiff; it is

                 FURTHER ORDERED that all Defendants, with the exception of President

 Trump, are enjoined from implementing Section 2 of Executive Order; it is




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               FURTHER ORDERED that all Defendants, with the exception of President

 Trump, are enjoined from implementing the OPM Guidance; and it is

               FURTHER ORDERED that the parties shall meet and confer and file a joint

 status report on or before May 2, 2025, proposing a schedule for how this case should proceed.

               An opinion explaining the Court's reasoning will be issued within the next few

 days.

                SO ORDERED.

                                                            G?      J-2     7'~ ~
                                                            PAULL. FRIEDM AN
                                                            United States District Judge




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                CERTIFICATE OF
                CEJRTKJFlICATE OF PARTIES   AND ANDICK
                                  J?AJRTKES AND AMICI

      Pursuant to D.C. Circuit Rule 28(a)(1)(A), the undersigned counsel

certifies as follows:

      Plaintiff-Appellee is National Treasury Employees Union.

Defendants-Appellants are Donald J. Trump; Charles Ezell; Pamela J.

Bondi; Robert F. Kennedy, Jr.; Lee M. Zeldin; Christopher A. Wright;

Brendan T. Carr; Scott Bessent; Melanie Krause; Margie Rollinson;

Timothy E. Gribben; Mary G. Ryan; Rodney E. Hood; and John Raby

(all in their official capacities). There are no other parties, intervenors,

or amici.

                               Respectfully submitted,


                                Isl Allison C. Giles
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                               Assistant Counsel
                               NATIONAL TREASURY EMPLOYEES
                               UNION
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May 23, 2025                   Counsel for Plaintiff-Appellee




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               CORPORATE DISCLOSURE STATEMENT
               CORPORATEDKSCLOS1URESTATEMENT
      Pursuant to Circuit Rule 26.1, the undersigned counsel hereby

certifies as follows:

      1. The National Treasury Employees Union (NTEU) is an

unincorporated, non-profit professional organization serving as the

exclusive bargaining representative of approximately 160,000

employees of the federal government pursuant to 5 U.S.C. §§ 7101-7135.

      2. NTEU has no parent companies.

      3. No publicly held company has any ownership interest in NTEU.

                               Respectfully submitted,


                               Isl Allison C. Giles
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                               Assistant Counsel
                               NATIONAL TREASURY EMPLOYEES
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May 23, 2025                   Counsel for Plaintiff-Appellee




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                      CERTIFICATE OF
                      CEJRTKJFlICATE OF SERVICE
                                        SEJRVJICE

      I certify that, on May 23, 2025, I electronically filed the foregoing

document with the Clerk of the Court for the United States Court of

Appeals for the District of Columbia Circuit through the appellate

CM/ECF system. I further certify that the foregoing document is being

served on all counsel of record via transmission of Notices of Electronic

Filing generated by CM/ECF.


                                          Isl Allison C. Giles
                                          ALLISON C. GILES
                                          Assistant Counsel




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